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U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
— pit? =| INTHE UNITED STATES DISTRICT COURT, _ PILED |
C ie; te: FOR THE NORTHERN DISTRICT OF TEXA |

é\ FORTH WORTH DIVISION JUN - 7 2016
DONNA Y. T. CHING, as Trustee of +h ope
the Ching Family Trust (Trust B), Restated OAK Oye et
March 22, 1984, and under Declaration of NSE Dopey”

Trust Split dated June 7, 2014,
Plaintiff,
v.

VRE CHICAGO ELEVEN, LLC,

Serve: B. Jason Keen, Registered Agent
1211 S. White Chapel Blvd.
Southlake, TX 76092,

VERDAD REAL ESTATE, INC.,

Serve: B. Jason Keen, Registered Agent
1211 S$. White Chapel Blvd.
Southlake, TX 76092,

EXP REALTY ADVISORS, INC.,
Serve: Robert Pendleton James, CEO
118 East 28" Street
Suites 808 and 901
New York, NY 10016,

and

TARTAN REALTY GROUP, INC.,

Serve: Doug Reichl, Registered Agent
350 W. Hubbard St., #640
Chicago, [IL 60654,

Defendants.

Name Name emer Nee” Teme eae” Senne ee” nee ee net et Se ee” See ee” Smee! Saar! meee mee” ere” Se Sm! Spee” Somme? Smet” Smee” Somme em” Seen Se” “ee” Se”

COMPLAINT

 

 

 

 

d= 16Cy-428-9

Case No.

PLAINTIFF DEMANDS
TRIAL BY JURY

Comes now Donna Y. T. Ching (“Plaintiff”), as Trustee of the Ching Family Trust (Trust

B), Restated March 22, 1984, and under Declaration of Trust Split dated June 7, 2014 (the

. “Trust”), and states as follows for her Complaint:

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PARTIES AND JURISDICTION

1. Plaintiff, a 79-year old widow, is the Trustee of the Trust. Plaintiff is a citizen
and resident of the State of California. Consequently, the Trust also is a citizen and resident of
the State of California for purposes of 28 U.S.C. § 1332.

2. Defendant VRE Chicago Eleven, LLC (“VRE”) is a limited liability company
formed and existing under the laws of the State of Texas. Upon information and belief, each
member of VRE is a citizen of the State of Texas or some state other than California.

3. Defendant Verdad Real Estate, Inc. (“Verdad”) is a corporation organized and
existing under the laws of the State of Texas, and having its principal place of business in Texas.
Verdad advertises itself, on its website, as being “one of the nation’s leading single-tenant real
estate developers,” having “almost 500 projects completed in 33 states, and over $800mm in real
estate transactions.” According to Verdad, “[t]he largest national brands trust Verdad from site
selection to store opening.” Among the services Verdad advertises are project financing,
development and capital solutions, underwriting, and “expert economic analysis & sales week
increases.” As described more fully below, on information and belief, Verdad and VRE are the
alter ego of one another.

4, Defendant EXP Realty Advisors, Inc. (“EXP”) is a corporation organized and
existing under the laws of the State of New York, and having its principal place of business in
New York. EXP served as Verdad’s and/or VRE’s broker in their sale of real property and
improvements which forms the basis for this action.

5. Defendant Tartan Realty Group, Inc. (“Tartan”) is a corporation organized and

existing under the laws of the State of Illinois, and having its principal place of business in

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Illinois. Tartan served as the [inois broker of record for EXP, VRE and/or Verdad in
connection with the listing and sale of the property that is the subject of this litigation.

6. This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C.
§ 1332(a), because the parties are of diverse citizenship and the amount in controversy exceeds
$75,000.00, exclusive of interest and costs.

7. This Court may exercise personal jurisdiction over the defendants because:
(a) VRE consented to same by contract; (b) on information and belief, VRE and Verdad are the
alter ego of one another; (c) VRE and Verdad are incorporated, and have their principal place of
business, in Texas; and (d) EXP and Tartan agreed to serve, and did serve, as Verdad’s and/or
VRE’s broker in their sale of real property and improvements which forms the basis for this
action, and therefore transacted business in Texas. With respect to the out-of-state defendants,
the foregoing facts satisfy Texas’s long-arm statute, Tex. Civ. Prac. & Rem. Code §§ 17.041 ef
seg., and exercise of personal jurisdiction over the out-of-state defendants comports with
constitutional due process.

8. Venue is proper in this judicial district, pursuant to 28 U.S.C. § 1391(b), because
Verdad is a resident of this judicial district, a substantial part of the events or omissions giving
rise to Plaintiff’ claims occurred in this district, and/or some or all of the defendants may be
deemed residents of this district or otherwise may be subject to suit in this district.

FACTS COMMON TO ALL COUNTS

VERDAD’S ACQUISITION OF PROPERTY

9, On information and belief, in or around 2014, Verdad acquired at least eleven
properties used for fast food businesses from one or more entities owned and/or controlled by

Jason LeVecke (“LeVecke”).

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10. On information and belief, before and/or after the acquisition, Verdad formulated
a plan and the intent to seli at least eleven of the acquired properties to unsuspecting buyers for
inflated prices.

ll. Verdad effected the said acquisition and subsequent sales through various wholly-
owned subsidiary entities it created, including VRE; VRE Chandler, LLC; VRE Waxahachie,
LLC; VRE Forsyth, LLC; VRE Grayslake, LLC; VRE Joliet, LLC; and VRE Libertyville, LLC.

12. Upon information and belief, Verdad’s subsidiary companies, including VRE,
were controlled entirely by Verdad, inadequately capitalized, and had no separate existence from
Verdad, and they and Verdad were the alter ego of one another. Among other things, Jason Keen
— a principal of Verdad and one of the six “team members” featured on Verdad’s website - is the
manager of VRE. Accordingly, Verdad is liable for the acts, omissions and wrongful conduct of
VRE.

13. One of the properties Verdad acquired was located at 107 E. 95" St., in Chicago,
Illinois (the “Property”). In March, 2014, Verdad acquired the Property, through its VRE
subsidiary, from JC 123 Holdings, LLC (“JC”), one of the entities owned and/or controlled by
LeVecke. Upon information and belief, VRE paid $1,425,000 for the Property. At all pertinent
times, both before and after the acquisition, a Kentucky Fried Chicken (“KFC”) fast food
restaurant was operated at the Property.

14. Commencing in or around April, 2014 and continuing until February 27, 2015,
VRE was the landlord of the Property under a written lease agreement between VRE and
Frontier Star, LLC (“Frontier Star”) or Frontier Star 1, LLC (“FS1”), other entities owned and/or
controlled by LeVecke, with such lease being executed before the sale, to take effect after the

sale.

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15. Beginning on or about February 27, 2015, the lease between VRE, as landlord,
and Frontier Star or FS1, as tenant, was terminated, and VRE entered into a new lease for the
Property with MJC Holdings 123, LLC (“MJC”), as tenant, another entity owned and/or
controlled by LeVecke.

16. Upon information and belief, MJC continued the business of operating a KFC
restaurant at the Property uninterrupted.

17. In connection with the February 27, 2015 lease to MJC, FS] and LeVecke,
personally, gave unconditional guarantees of MJC’s performance under the lease.

18. The February 27, 2015 lease called for MJC’s payment of minimum monthly rent
of $14,250.00, which translates to $171,000.00 annually, for the first five years of the lease term.

19. | On information and belief, the February 27, 2015 lease provided for payment of
rent at a level substantially higher than the rent the Property was generating prior to VRE’s
acquisition of it, higher than the fair market rental value of the Property, and higher than what a
KFC franchisee operating at the Property could expect to be able to pay out of operating
revenues; and the artificially high rent level was set forth in the February 27, 2015 lease in order

to induce a buyer to pay a purchase price for the Property substantially higher than its fair market

value.
TE. MARKETING OF PROPERTY
20. Less than a year after acquiring the Property, Verdad, through VRE, placed it on
the market.

21. Tartan and EXP, on behalf of Verdad and VRE, marketed the Property through a

brochure and offering circular that contained false and misleading information and

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representations in multiple respects. (True copies of the said brochure and offering circular are
appended hereto as Exhibits 1 and 2, respectively.) Among other things:

a. The brochure touted the financial strength of FS1, which was a guarantor
of the February 27, 2015 lease, with Verdad, VRE, EXP and Tartan knowing that the
financial strength of the lease guarantor would operate as a substantial inducement to a
prospective purchaser, and serve to inflate the value of the Property. The brochure
represented that, as of 2014, FS1 had a net worth of nearly $70 million, and an annual
operating profit of nearly $15 million. All of the foregoing financial information was
false and, on information and belief, Verdad, VRE, EXP and Tartan knew of the falsity of
that information, or made representations concerning the financial strength of FS1
without having any proper basis for knowing whether the representations were true.

b. The offering circular for the Property represented that FS1 was, and would
be, the tenant of the Property, and touted the tenant as operating 22 KFC restaurants in
the Chicago Market, and as being one of the largest multi-unit franchise restaurant
operators with over 200 locations, with Verdad, VRE, EXP and Tartan knowing that the
size, strength and experience of the franchise operator would operate as a substantial
inducement to a prospective purchaser, and serve to inflate the value of the Property. The
foregoing representations were false in that, from and after February 27, 2015, the tenant
of the Property was MJC, which had no track record as a KFC franchisee, and may not
even have been an authorized KFC franchisee at that time. On information and belief,
Verdad, VRE, EXP and Tartan knew of the falsity of the foregoing representations, or
made the representations without having any proper basis for knowing whether they were

true.

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c. The offering circular for the Property represented that the Property was
generating, and would in the future generate, rental income in the amount of $171,000
per year for the first five years, with rental income for years 16-20 of the lease rising to
$227,601 per year, with Verdad, VRE, EXP and Tartan knowing that rental income
generated, and to be generated, from the Property would operate as a substantial
inducement to a prospective purchaser, and serve to inflate the value of the Property. The
foregoing representations were false in that, from and after February 27, 2015, there was
no reasonable expectation that the Property could or would generate rental income at the
levels represented in the offering circular. On information and belief, Verdad, VRE, EXP
and Tartan knew of the falsity of the foregoing representations, or made the
representations without having any proper basis for knowing whether they were true.

22. Prior to Plaintiff entering into a sale contract for the Property, Plaintiff made clear
to EXP through its employees and agents, Russell Smith and Bob Moorhead, and through them
to Verdad, VRE and Tartan, that Plaintiff wished to see financial statements and sales data
relating specifically to the Property. In an e-mail dated March 4, 2015, EXP, through Bob
Moorhead, ‘on behalf of itself, Verdad, VRE and Tartan, represented to Plaintiff through her
agent, Paul Matusik, that: “we do not have unit level sales. We have asked the franchisee for
them and he said he will not provide because he is uncomfortable violating his franchise
agreement to not release store level sales. He has told us that he is up 30% in the stores since he
acquired them last year and projects a $1.2M+ AUV by year end and a $1.5M+ AUV in the
2016/2017 range.”

23. Upon information and belief, what was stated in the foregoing March 4, 2015 e-

mail was false and misleading in a number of respects, including but not limited to the

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suggestion that the KFC franchise agreement prohibited releasing store level sales, the
statements concerning actual and projected operating results, and the representation that
Defendants did not have any information concerning unit level sales. Disseminating the
foregoing false and misleading information precluded Plaintiff from conducting meaningful due
diligence beyond what was provided in Exhibits 1 and 2 hereto, and induced Plaintiff to rely on
the information and representations in Exhibits 1 and 2, and the other information provided, as
' referenced herein, much of which proved to be false and fraudulent.

24. —_ Also prior to Plaintiff entering into a sale contract for the Property, Russell Smith
of EXP, on behalf of all Defendants, orally represented to Plaintiff, through her agent, Paul
Matusik, that the normal ratio of rent expense to gross revenues for a KFC store was 8 percent,
and that the ratio for the store at the Property was below 8 percent. The foregoing representation
that the ratio of rent expense to gross revenues for the KFC store at the Property was below 8
percent was false.

25. Disclosure of truthful unit level sales for the Property would have revealed that
the rent levels provided for in the February 27, 2015 lease were not viable or sustainable, and
that information, accordingly, was material. On information and belief, Verdad, VRE, EXP
and/or Tartan knew of the falsity of the representations set forth in the March 4, 2015 e-mail, and
the representations made orally by Russell Smith, and made, or permitted the making of them,
either with knowledge of their falsity, or without having any proper basis for knowing whether
they were true.

TH. SALE CONTRACT AND LEASE DEFAULT
26. On or about March 10, 2015, Plaintiff and VRE entered into a Purchase and Sale

Agreement (the “Sale Contract”), pursuant to which Plaintiff agreed to buy, and VRE agreed to

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sell, the Property subject to the terms and conditions described in that contract. (A true copy of
the Sale Contract is appended hereto as Exhibit 3.) The Sale Contract provided for a purchase
price of $2,443,000,00, which, upon information and belief, was $1,018,000 (or 71%) more than
Verdad and/or VRE paid for the property only a year earlier.

27. Plaintiff and VRE closed on the purchase and sale of the Property on or about
May 1, 2015. At or around that same time, Plaintiff assumed VRE’s rights and obligations under
VRE’s lease with MJC.

28. Following the closing MJC paid the rent due under the lease for only two months.
Thereafter, MJC stated it was unable to pay rent, ceased paying rent and ultimately vacated the
premises.

29. Since then, Plaintiff has been unable to secure a new tenant to operate a KFC
business at the Property, and the Property has been dark, generating no rent or other revenue.

30. At the time of the closing of the Sale Contract, MIC was in default of its
obligations under the February 27, 2015 lease to pay property taxes on the Property, and was in
arrears for approximately $30,000. VRE was required to pay those tax obligations out of the
seller’s proceeds payable at closing. Plaintiff did not learn about MJC being in default of its
obligations to pay taxes until at or shortly before the time of closing, and Defendants did not
earlier disclose that information to Plaintiff.

31. On or about July 27, 2015, Frontier Star filed a voluntary petition for reef under
Chapter 11 of the United States Bankruptcy Code. That bankruptcy case remains pending in the
United States Bankruptcy Court for the District of Arizona.

32.  Verdad — itself and through several subsidiaries — is a creditor of Frontier Star and

received notice of Frontier Star’s bankruptcy. Upon information and belief, Verdad and/or VRE

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had a close and ongoing business relationship with Frontier Star, FS1 and/or LeVecke as of and
prior to early 2015. Counsel for Verdad and VRE stated that those parties had engaged in more
than 30 transactions with one another. Upon information and belief, Verdad and VRE knew of
Frontier Star’s and its affiliated entities’ precarious financial position and potential bankruptcy,
prior to the date of the Sale Contract and/or the date on which VRE and Plaintiff closed on the
sale of the Property.

33. On or about November 17, 2015, FS1 filed a voluntary petition for relief under
Chapter 11 of the United States Bankruptcy Code. That bankruptcy case remains pending in the
United States Bankruptcy Court for the District of Arizona.

34. . On or about January 25, 2016, LeVecke filed a voluntary petition for relief under
Chapter 7 of the United States Bankruptcy Code. That bankruptcy case remains pending in the
United States Bankruptcy Court for the District of Arizona.

35. At no time prior to the Closing of the Sale Contract did Verdad, VRE, EXP or
Tartan disclose to Plaintiff any of the following material facts:

a. that the February 27, 2015 lease provided for payment of rent at a level
substantially higher than the rent the Property was generating prior to VRE’s acquisition
of it, higher than the fair market rental value of the Property, and higher than what a KFC
franchisee operating at the Property could expect to be able to pay out of operating
revenues, and the artificially high rent level was set forth in the February 27, 2015 lease
in order to induce a buyer to pay a purchase price for the Property substantially higher

than its fair market value;

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b. the falsity of the information in the offering brochure that, as of 2014, FS1
had a net worth of nearly $70 million, and an annual operating profit of nearly
$15 million;

c. the fact that, from and after February 27, 2015, there was no reasonable
expectation that the Property could or would generate rental income at the levels
represented in the offering circular, of $171,000 per year for the first five years, and even
higher amounts in later lease years;

d. Frontier Star’s and its affiliated entities’ precarious financial position and
potential bankruptcy;

e. MJC’s inability to make the minimum rent payments called for in the
February 27, 2015 lease;

f. the fact that MIC had no track record as a KFC franchisee, and, at the time
of various communications, may not even have been an approved KFC franchisee;

g. the falsity of the information that Defendants did not have unit level sales
information relating to the Property, that the franchise agreement with KFC relating to
the Property prohibited financial statements and sales data pertaining to the Property from
being disclosed to Plaintiff, and that sales at the Property were up 30% since it was
acquired in 2014 and were projected to be more than $1.2 million by the end of 2015 and
more than $1.5 million in 2016 and 2017; and/or

h. the falsity of the information that the ratio of the rent expense to the gross
revenues being generated on the property was below 8 percent.

36. Agadirect and proximate result of the foregoing, Plaintiff has suffered substantial

losses and damages, including but not limited to lost rents; paying $2,443,000.00 for the Property

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when its actual fair market value was approximately $1,000,000 less than that amount; and legal
fees and expenses.

37. The circumstances of this case involving false representations and the resulting
sale of a KFC restaurant property to an unsuspecting buyer for an inflated price, by the same
seller and the same or similar agents, are not an isolated occurrence. To the contrary, Plaintiff
has knowledge of at least three other similar situations: one involving a property at 10200 S.
Halsted Street, in Chicago, Illinois, which is the subject of litigation pending in this Court as
JMO Property, LLC v. VRE Chicago Eleven, LLC, et al, Case No. 4:16-ev-00074-A, U.S.
District Court for the Northern District of Texas, Forth Worth Division (Hon. John McBryde);
another involving a property at 5852 S. Western Ave., in Chicago, Illinois, which is the subject
of litigation pending as Raymond L. Walls, et al. v. VRE Chicago Eleven, LLC, et al., Case No.
1:16-cv-04048, U.S. District Court for the Northern District of Illinois; and another involving a
property at 7 E. Garfield Bivd., in Chicago, Illinois, sold to Ligon Properties, LLC.

COUNT I ~ FRAUDULENT INDUCEMENT-MISREPRESENTATIONS
(Against Verdad, VRE, EXP and Tartan)

38. Paragraphs | through 37 are incorporated by this reference as though set forth in
full herein.

39, Prior to entering into the Sale Contract, Verdad, VRE, EXP and Tartan, and each
of them, made a number of false representations to Plaintiff, in order to induce Plaintiff to enter
into the Sale Contract, including but not limited to the following:

a. the brochure used to market the Property falsely represented that FS1 had
substantial financial strength: that, as of 2014, FS1 had a net worth of nearly $70 million;

and that, as of 2014, FS1 had an annual operating profit of nearly $15 million;

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b. Defendants falsely represented that Frontier Star or FS1 was, and would
be, the tenant of the Property; that the tenant of the Property operated 22 KFC restaurants
in the Chicago Market; and that the tenant of the Property was one of the largest multi-
unit franchise restaurant operators with over 200 locations;

Cc. the offering circular for the Property falsely represented that the Property
was generating, and would in the future generate, rental income in the amount of
$171,000 per year for the first five years, with rental income for years 16-20 of the lease
rising to $227,601 per year;

d. Defendants falsely represented that they did not have unit level sales
information relating to the Property, that the franchise agreement with KFC relating to
the Property prohibited financial statements and sales data pertaining to the Property from
being disclosed to Plaintiff, and that sales at the Property were up 30% since it was
acquired in 2014 and were projected to be more than $1.2 million by the end of 2015 and
more than $1.5 million in 2016 and 2017; and/or

é. Defendants falsely represented that the ratio of rent expense to gross
revenues at the Property was below 8 percent.

40, All of the foregoing facts were material to the Sale Contract.

41. Verdad, VRE, EXP and Tartan, and each of them, made the foregoing false
representations knowing the same to be false, or without any proper basis for knowing whether
they were true, and with intent to deceive Plaintiff.

42. Plaintiff relied on the foregoing false representations, her reliance was reasonable,

and Plaintiff in fact was deceived by the false representations.

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43, As a direct and proximate result of the foregoing, Plaintiff was fraudulently
induced to enter into the Sale Contract and purchase the Property.

44. _ As a direct and proximate result of the foregoing, Plaintiff has been damaged, and
the amount of her damages exceeds $1,000,000.

45. The actions of Verdad, VRE, EXP and Tartan were willful, wanton, malicious,
outrageous and undertaken in reckless disregard of Plaintiff's rights and interests, so as to
warrant the imposition of punitive damages against each of them.

WHEREFORE, Plaintiff respectfully requests, pursuant to this Count, that the Court enter
judgment in her favor, and against Verdad Real Estate, Inc., VRE Chicago Eleven, LLC, EXP
Realty Advisors, Inc. and Tartan Realty Group, Inc., jointly and severally; award to Plaintiff her
actual damages, in excess of $1,000,000, in an amount to be proven at trial; award to Plaintiff
punitive damages from each of the said defendants; award to Plaintiff from the said defendants,
jointly and severally, pre and post-judgment interest; award to Plaintiff from the said defendants,
jointly and severally, the costs of this action, including reasonable attorney’s fees; alternatively,
award to Plaintiff appropriate equitable relief to remedy the wrongs alleged above, including but
not limited to rescission of the Sale Contract; and enter such other and additional relief as the
Court deems just and appropriate.

COUNT II ~- FRAUDULENT INDUCEMENT-OMISSIONS
(Against Verdad, VRE, EXP and Tartan)

46. Paragraphs | through 45 are incorporated by this reference as though set forth in
full herein.
47. Prior to entering into the Sale Contract and/or closing the sale of the Property,

Verdad, VRE, EXP and EXP, and each of them, omitted to disclose a number of material facts to

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Plaintiff, in order to induce Plaintiff to enter into and close the Sale Contract, including but not
limited to the following:

a. the February 27, 2015 lease provided for payment of rent at a level
substantially higher than the rent the Property was generating prior to VRE’s acquisition
of it, higher than the fair market rental value of the Property, and higher than what a KFC
franchisee operating at the Property could expect to be able to pay out of operating
revenues, and the artificially high rent level was set forth in the February 27, 2015 lease
in order to induce a buyer to pay a purchase price for the Property substantially higher
than its fair market value;

b. the falsity of the information in the offering brochure that, as of 2014, FS1
had a net worth of nearly $70 million, and an annual operating profit of nearly
$15 million;

c. the fact that, from and after February 27, 2015, there was no reasonable
expectation that the Property could or would generate rental income at the levels
represented in the offering circular, of $171,000 per year for the first five years, and even

higher amounts in later lease years;

d. Frontier Star’s and its affiliated entities’ precarious financial position and
potential bankruptcy;
€. MIC’s inability to make the minimum rent payments called for in the

February 27, 2015 lease;

f. the fact that MIC had no track record as a KFC franchisee;

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g. financial statements and sales data relating specifically to the Property,
which would have reflected that payment of rent at the levels provided for in the
February 27, 2015 lease was not sustainable;

h. the falsity of the information that Defendants did not have unit level sales
information relating to the Property, that the franchise agreement with KFC relating to
the Property prohibited financial statements and sales data pertaining to the Property from
being disclosed to Plaintiff, and that sales at the Property were up 30% since it was
acquired in 2014 and were projected to be more than $1.2 million by the end of 2015 and
more than $1.5 million in 2016 and 2017; and/or

i. the falsity of the information that the ratio of rent expense to gross
revenues at the Property was below 8 percent.

48. All of the foregoing facts were material to the Sale Contract. Had Plaintiff known
of those facts, or any of them, she would not have proceeded with the purchase of the Property.

49. Verdad, VRE, EXP and Tartan, and each of them, omitted to disclose the
foregoing facts with intent to deceive Plaintiff, and Plaintiff thereby was deceived.

50. Verdad, VRE, EXP and Tartan, and each of them, had a duty to disclose the
foregoing facts to Plaintiff because, in the absence of such disclosure, the said defendants’ other
statements and representations to Plaintiff were misleading and/or untrue, and/or their partial
disclosures conveyed a false impression, and because the said defendants had superior
knowledge and information concerning the omitted facts.

51. As a direct and proximate result of the foregoing, Plaintiff was fraudulently

induced to enter into the Sale Contract and purchase the Property.

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52. Asa direct and proximate result of the foregoing, Plaintiff has been damaged, and
the amount of her damages exceeds $1,000,000.

53. The actions of Verdad, VRE, EXP and Tartan were willful, wanton, malicious,
outrageous and undertaken in reckless disregard of Plaintiff's rights and interests, so as to
warrant the imposition of punitive damages against each of them.

WHEREFORE, Plaintiff respectfully requests, pursuant to this Count, that the Court enter
judgment in her favor on this Count, and against Verdad Real Estate, Inc., VRE Chicago Eleven,
LLC, EXP Realty Advisors, Inc. and Tartan Realty Group, Inc., jointly and severally; award to
Plaintiff her actual damages, in excess of $1,000,000, in an amount to be proven at trial; award to
Plaintiff punitive damages from each of the said defendants; award to Plaintiff from the said
defendants, jointly and severally, pre and post-judgment interest; award to Plaintiff from the said
defendants, jointly and severally, the costs of this action, including reasonable attorney’s fees,
alternatively, award to Plaintiff appropriate equitable relief to remedy the wrongs alleged above,
including but not limited to rescission of the Sale Contract; and enter such other and additional
relief as the Court deems just and appropriate.

COUNT III - NEGLIGENT MISREPRESENTATIONS-AFFIRMATIVE STATEMENTS
(Against Verdad, VRE, EXP and Tartan)

54. Paragraphs 1 through 53 are incorporated by this reference as though set forth in
full herein.

55, Plaintiff alleges this Count in the alternative to the claims alleged in Counts I and
id.

56. Prior to entering into the Sale Contract, Verdad, VRE, EXP and Tartan, and each
of them, made a number of false representations to Plaintiff, which operated to induce Plaintiff to

enter into the Sale Contract, including but not limited to the following:

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a. the brochure used to market the Property falsely represented that FS1 had
substantial financial strength; that, as of 2014, FS1 had a net worth of nearly $70 million;
and that, as of 2014, FS1 had an annual operating profit of nearly $15 million;

b. Defendants falsely represented that Frontier Star or FS1 was, and would
be, the tenant of the Property; that the tenant of the Property operated 22 KFC restaurants
in the Chicago Market; and that the tenant of the Property was one of the largest multi-
unit franchise restaurant operators with over 200 locations;

c. the offering circular for the Property falsely represented that the Property
was generating, and would in the future generate, rental income in the amount of
$171,000 per year for the first five years, with rental income for years 16-20 of the lease
rising to $227,601 per year;

d. Defendants falsely represented that they did not have unit level sales
information relating to the Property, that the franchise agreement with KFC relating to
the Property prohibited financial statements and sales data pertaining to the Property from
being disclosed to Plaintiff, and that sales at the Property were up 30% since it was
acquired in 2014 and were projected to be more than $1.2 million by the end of 2015 and
more than $1.5 million in 2016 and 2017; and/or

e. Defendants falsely represented that the ratio of rent expense to gross
revenues at the Property was below 8 percent.

57. All of the foregoing facts were material to the Sale Contract.
58. Verdad, VRE, EXP and Tartan, and each of them, made these statements to

Plaintiff in the course of their business and in a transaction in which they had an interest.

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59, Verdad, VRE, EXP and Tartan, and each of them, failed to take reasonable care to
ensure the statements they made were true and sufficiently complete that they would not be
misleading, and thus were negligent in making the misrepresentations set forth above.

60. Plaintiff justifiably relied on the statements by Verdad, VRE, EXP and ‘Tartan,
and each of them.

61. As a direct and proximate result of the foregoing negligent misrepresentations,
Plaintiff was damaged, and the amount of her damages exceeds $1,000,000.

WHEREFORE, Plaintiff respectfully requests, pursuant to this Count, that the Court enter
judgment in her favor, and against Verdad Real Estate, Inc., VRE Chicago Eleven, LLC, EXP
Realty Advisors, Inc. and Tartan Realty Group, Inc., jointly and severally; award to Plaintiff her
actual damages, in excess of $1,000,000, in an amount to be proven at trial; award to Plaintiff
from the said defendants, jointly and severally, pre and post-judgment interest; award to Plaintiff
from the said defendants, jointly and severally, the costs of this action, including reasonable
attorney’s fees; alternatively, award to Plaintiff appropriate equitable relief to remedy the wrongs
alleged above, including but not limited to rescission of the Sale Contract; and enter such other
and additional relief as the Court deems just and appropriate.

COUNT IV — NEGLIGENT MISREPRESENTATION-OMISSIONS
(Against Verdad, VRE, EXP and Tartan)

62. Paragraphs | through 61 are incorporated by this reference as though set forth in
full herein.

63. Plaintiff alleges this Count in the alternative to the claims alleged in Counts I and
I.

64, Prior to entering into the Sale Contract and/or closing the sale of the Property,

Verdad, VRE, EXP and Tartan, and each of them, omitted to disclose a number of material facts

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to Plaintiff, which operated to induce Plaintiff to enter into and close the Sale Contract, including
but not limited to the following:

a. the February 27, 2015 lease provided for payment of rent at a level
substantially higher than the rent the Property was generating prior to VRE’s acquisition
of it, higher than the fair market rental value of the Property, and higher than what a KFC
franchisee operating at the Property could expect to be able to pay out of operating
revenues, and the artificially high rent level was set forth in the February 27, 2015 lease
in order to induce a buyer to pay a purchase price for the Property substantially higher
than its fair market value;

b. the falsity of the information in the offering brochure that, as of 2014, FS1
had a net worth of nearly $70 million, and an annual operating profit of nearly
$15 million;

c. the fact that, from and after February 27, 2015, there was no reasonable
expectation that the Property could or would generate rental income at the levels
represented in the offering circular, of $171,000 per year for the first five years, and even
higher amounts in later lease years;

d. Frontier Star’s and its affiliated entities’ precarious financial position and
potential bankruptcy;

e. MJC’s inability to make the minimum rent payments called for in the
February 27, 2015 lease;

f. the fact that MJC had no track record as a KFC franchisee;

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g. financial statements and sales data relating specifically to the Property,
which would have reflected that payment of rent at the levels provided for in the
February 27, 2015 lease was not sustainable;

h. the falsity of the information that Defendants did not have unit level sales
information relating to the Property, that the franchise agreement with KFC relating to
the Property prohibited financial statements and sales data pertaining to the Property from
being disclosed to Plaintiff, and that sales at the Property were up 30% since it was
acquired in 2014 and were projected to be more than $1.2 million by the end of 2015 and
more than $1.5 million in 2016 and 2017; and/or

1. the falsity of the information that the ratio of rent expense to gross
revenues at the Property was below 8 percent.

65. All of the foregoing facts were material to the Sale Contract. Had Plaintiff known
of those facts, or any of them, she would not have proceeded with the purchase of the Property.

66. Verdad, VRE, EXP and Tartan, and each of them, failed to disclose the foregoing
facts to Plaintiff in the course of their business and in a transaction in which they had an interest.

67. Verdad, VRE, EXP and Tartan, and each of them, failed to take reasonable care to
ensure the statements they made were true and sufficiently complete that they would not be
misleading; additionally, they failed to take reasonable care to ensure they disclosed the
foregoing material information of which they had superior knowledge and which was not
reasonably discoverable by Plaintiff in the exercise of ordinary due diligence. In each and all of

the foregoing respects, Verdad, VRE, EXP and Tartan, and each of them, were thereby negligent.

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68. Asadirect and proximate result of the negligent omissions by Verdad, VRE, EXP
and Tartan, and each of them, Plaintiff was damaged, and the amount of her damages exceeds
$1,000,000.

WHEREFORE, Plaintiff respectfully requests, pursuant to this Count, that the Court enter
judgment in her favor, and against Verdad Real Estate, Inc.. VRE Chicago Eleven, LLC, EXP
Realty Advisors, Inc. and Tartan Realty Group, Inc., jointly and severally; award to Plaintiff her
actual damages, in excess of $1,000,000, in an amount to be proven at trial; award to Plaintiff
from the said defendants, jointly and severally, pre and post-judgment interest; award to Plaintiff
from the said defendants, jointly and severally, the costs of this action, including reasonable
attorney’s fees; alternatively, award to Plaintiff appropriate equitable relief to remedy the wrongs
alleged above, including but not limited to rescission of the Sale Contract; and enter such other

and additional relief as the Court deems just and appropriate.

PLAINTIFF DEMANDS TRIAL BY JURY OF ALL ISSUES SO TRIABLE.

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Respectfully submitted,

 

 

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PURCHASE AND SALE AGREEMENT

THIS PURCHASE AND SALE AGREEMENT (“Contract”) is made and entered into and Is effective
asofthe 10 day of March, 2015 (the “Contract Date”), by and between VRE CamCaGd ELEVEA, LLC, a
Texas limited Hability company (“Seller”) and THE CHING FAMILY TRUST EB (“Parchasar”).

RECITALS;
Seller is the owner of the Project {as defined below).

Upon the satisfaction of, and subject fo, the terms and conditions set forth in this Contract, Seller has
agreed to sell the Project to Purchaser, and Purchaser has agreed to parchase the Project from Seller.

AGREEMENT:

NOW, THEREFORE, in consideration of the foregoing recitals, the mutual covenants set forth in this Contract,
and other good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
. Purchaser and Seller hereby agree as set forth below,

1. PURCHASE AND SALE OF THE PROJECT.

Subject to and in accordance with the terms and conditions contained in this Contract, Seller agrees to sell,
assign, convey, atd transfer to Purchaser in the manner herein provided all of Seller's right, title and interest in
and to the following real and personal property (collectively referred to herein as the “Profect”), and Purchaser
hereby agrees to purchase and accept the Project:

LI Land, Fee Simple Absolute title to that certain real proporty located at 107 Bast 95th Streot, in the City
of Chicago, Cook County, Hlinois, which real property is moxe particularly described in Exhibit 1,1
(the “Land”).

 

1.2 Improvements. A/l fixtures and improvements owned by Seller located on the Land (collectively, the
‘Tmprovements”), it being understood and agreed, however, that Purchaser shall not have the right,
pursuant to this Contract, to purchase any of such fixtures and improvements which are the property of
Tenant (defined below} during the term of the Tenartt Lease, as hereinafter defined. ‘The improvements
include an existing retail building, all of which is occupied by Frontier Star, LLC, a Delaware limited
liability company(“Tes2nt"), operating as a Kentucky Fried Chicken (KFC) restaurant pursuant to the
terms of the Tenatit Lease,

13 Personalty, All equipment and personal property owned by Seiler, if any, which is located on or in the
Land or the Improvements (collectively, the “Persowsity”), it being understood and agreed that
Purchaser shall not have the right, pursuant to this Contract, to purchase any personal property on the
Iproyements which is the personal property of any tenants and other ocoupants of the Project during
the term of the Tenant Lease,

i4  _ Appurienances, All rights, privileges and easements appurtenant to the Land, all water, wastewater and
other utility rights relating to the Land and any and all easements, rights-of-way and other
appurtenances used in connection with the beneficial use and enjoyment of the Land, in each case to the
extent assignable (collectively, the “Appurtenaaces”),

1.5 Tenant Lease. All of Seller's right, title and interest in and to that certain Lease Agreement by and
between Seller, as lessor, and Tenant, a5 lessee dated effective February 27, 2015 (the “Tenant Lease”),
covering the Improvements on the Land.

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L6 Awards. All right, title and interest to any unpaid insurance claims or proceeds or awards for damages
to the Land and/or improvements, resulting trom any casualty or any taking in eminent dotnain or by
reason of change of grade of any street,

17 Intangible Property. Except the name of the Seller or affiliated entities, all of ihe interest of Seiler in
any infangible property now or hereafter owned by Seller and used or designed for use in connection
with the Land, Improvements and/or Personalty, and any contract or lease rights, licenses, penmnits,
certificates of occupancy, franchises, agreements, utility contracts, unexpired claims, warranties,
guaranties and sureties belonging to Seller, or other rights relating to the ownership, development,
construction, design, use and operation of the Land and/or Improvements, in each case to the extent
assignable (collectively, “Kniaupible Property”).

2. INDEPENDENT CONSIDERATION; EARNEST MONEY; CLOSING; DUE DILIGENCE
MATERIALS AND INSPECTIONS,

21 Independent Consideration, Purchaser has or will as of the Contract Date deliver to Seller the sum of
TWO THOUSAND FIVE HUNDRED DOLLARS ($2,500.00) (the “Independent Consideration”) in
cash or immediately available funds, in consideration for Seller’s entering into this Contract to the
exclusion of potentinl other purchasers and granting Purchaser the rights to inspect and evaluate the
Project during the Contingency Period (hereinafter defined), The Independent Consideration is not
refundable to Purchaser weder any circumstances, but will be epplied to the Purchase Price (hereinafter
defined) if Closing (hereinafter defined) oceurs.

2.2 Hamest Money. Within two (2) business days after the Contract Date, Purchaser shall alse deliver a
deposit to Fidelity National Title Agency, Inc., 830 B. State Highway 114, Suite 200, Attn; Stephanie
Kleam: Phone: 817.442.1111; Fax: 817.442.9997; E-Mail: skloam@fidelity-usa.com (“Title
Company”), in the form of a cashier’s check made payable to the Title Company or a wire transfer in
the ammount of SEVENTY-FIVE THOUSAND AND 00/100 DoLLars ($75,000.00) (the “Earnest Money”).
The Tithe Company shall retain possession of the Eamest Money until delivery or retum thereof is
pemnitted or required under this Contract, The Harnest Money shall be deposited in an interest beating
account with the interest thereon to be disbursed with the Earnest Money in accordance with the
provisions hereof. Tf the purchase and sale of the Project shall close pursuant to the terms and
provisions of this Contract, the Eamest Money shall be credited against the Parchase Price at Closing.
The timely delivery of the Earnest Money as provided for herein is a condition precedent to Seller's
obligations hereunder, and the failure of Purchaser to timely deliver the Earmest Money as provided for
herein shall at Seiler’s option cause this Contract to be terminated, and thereafter neither patty shall
have any firther right or obligation under this Contract unless expressly provided to the contrary in this
Contract.

2.3 Due Diligence Materials. Within five (5) days after the Contract Date, Seller shall deliver to Purchaser
eopies of various materials relating to the Project (the “Dee Diligenee Materials”), The Due Diligence
Materials to be delivered to Purchaser are listed on Exhibit 2.3 attached hereto. Purchaser aprees not to
disclose the Due Diligence Materials to anyone other than jis lenders and its agents and attorneys who
are directly involved in conducting due diligence with respeot to the Project and then only if Purchaser
has obtained the agreement of auch lenders, agents and attorneys to keep the Due Diligence Materials
strictly confidential. Upon termination of this Contract for any reason, the Dus Diligence Materials
(together with all copies thereof) shall be promptly returned to Seller to the extent Purchaser has made
or teceived copies thereof. This obligation survives the termination of this Contract. IT JS
ACKNOWLEDGED THAT THE DUE DILIGENCE MATERIALS INCLUDE REPORTS,
INVESTIGATIONS, FINDINGS, ANALYSES, CONCLUSIONS, DATA AND OTHER

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INFORMATION WHICH MAY BE OR HAVE BEEN PREPARED BY THIRD PARTIES.
NOTWITESTANDING ANYIRUNG TO THE CONTRARY CONTAINED HEREIN,
PURCHASER AGREES THAT: (4) SELLES HAS NOT MADE, AND SHALL NOT BE
DEEMED TO HAVE MADE, ANY REPRESENTATIONS OR WARRANTIES REGARDING
THE ACCURACY OF THE INFORMATION CONSTITUTING THE DOL DELIGENCE
MATERIALS OR THE CONCLUSIONS CONTAINED THEREIN OR THE
QUALIFICATIONS OF THE PERSONS WHO HAVE PREPARED THE DUE DILIGENCE
MATERIALS, OR ANY PART THEREGE, AND (8) PURCEASER’S RELIANCE ON THE
BUE DILIGENCE MATERIALS IN DETERMINING WHETHER TO PURCHASE THE
PROJECT SHALL BE AT PURCHASER’S OWN RISK AND SELLER SHALL HAVE NO
LIABILITY THEREFOR THE DUE DILIGENCE MATERIALS ARE DELIVERED OR
MADE AVAILABLE WITHOUT REPRESENTATION OR WARRANTY BY SELLER
(EXPRESS OR IMPLIED).

2.4 Inspections; Indemnity; Insurance,

2.4.1 Inspections. Purchaser and its employees and agents shall have the right and permission fom
and efter the Contract Date through Closing to enter upon the Project or any part thereof at gli
reasonable times upon at least one (1} business day advance notice by Purchaser to Seiler and
Tenant, in a manner not to disturb Tenant or other occupants of the Project nor damage or injure
the Project, to inspect all aspects of the Project, at Purchaser's sole risk, cost and expense, and
io make such physical inspections, studies and tesfs of the Project which Purchaser deems
reasonably necessary or advisable, Any entry by Purchaser also shall be in compliance with the
terms of the Tenant Lease, Purchaser shall not have the right to interview Tenant or its
employees prior to Closing without the express consent of Seller. Any testing that requires a
material invasion of the Land or Improvemonts, inclading a Phase II environmental site
assessment, shall require Seller's written consent, which consent may be withheld in Seller’s
sole discretion. .

Purchaser agrees that It will not reveal to any third party not approved by Seller the resulis of its
inspections or tests, unless required by lew, and to provide Seller with copies of any inspection or test
report received by Purchaser,

2.4.2 Indermnity. Purchaser shall INDEMNIFY AND HOLD HARMLESS Seller, its partners, and it
officers, directors, employees and agents from all claims, Wability and expense (including
attorneys’ fees} arising as a result of any activities of Purchaser or its employes, agents,
contractors or representatives on the Project in connection with such inspections, studies and
tests, and Purchaser shall restore any portion of the Land or Improvements disturbed by any
such inspections, studies aad tests to the condition existing inamediately prior fo such operation.
The foregoing indemnification obligation of Purchaser shall survive Closing or any termination
of this Contract.

24.3 Insurance. Without limiting the generality of the foregoing indemnity, Purchaser shall maintain
or cause its contractors to maintain commerelal general Hability Insurance in amounts not less
than. $1,000,000.00 per occurrence daring all periods when Purchaser is conducting inspections
of the Project, Purchaser shall cause Seller to be named as an additional insured on such
insurance policy and shall provide Seller with evidence of such insurance prior to entering the
Project.

25 Survey. Within five (5) days after the Contract Date, Seller shall deliver to Purchaser the most recent
boundary survey of the Land in Seller’s possession (the “Survey”).

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2.6 Tite Commitment,

2.6.1 Tide Commitment. Within fifteen (15) days after the Contract Date, Seller shall cause the Title
Cormpany to deliver to Purchaser a current commitment for the issuance of an owner policy of
title insurance (the “Fithe Commitment’), including true, correct and, to the extent reasonably
available from the public records, legible copies of all instraments referred to in the Title
Conmnitment as conditions or exceptions fo title to the Land and the Improvements.

2.6.2 Titic/Survey Review Period, All items shown on the Title Commitment and the Survey not
objected to by Purchaser by written notice to Seller within ten (10) days after the receipt by
Purchaser of the Title Commitment and the Survey (the “Title/Survey Review Period"), shall
be deemed to be “Permitied Exceptions.” Should Purchaser make written objection to Seller
within the Title/Survey Review Period to exceptions, defects or conditions shown on the Tile
Commitment and/or the Survey which materially and adversely affect the use and operation of
the Project (collectively, “Purchaser’s Objectious”), Seller may, but shail not be obligated, to
use good faith efforls to cure such Purchaser's Objections prior te the later to accur of the
expiration of the Contingency Period or twenty (20) days after Seller's receipt of written notice
of Purchaser’s Objections: provided, however, that it is expressly understood and agreed that
Seller shall have no obligation to expend funds or institute any litigation in effecting such
curative matters. In no event may Purchaser include any of the standard printed exceptions set
forth in the Title Commitment in Purchaser's Objections, all of which shall be deemed
Permitted Exceptions, ¥£f Seller does not cure any or all of Purchaser's Objections prior to the
later to occur of. the expiration of the Contingency Period or twenty (20) daye after Seller's
receipt of written notice of Purchaser’s Objections, then prior to the later to oceur of the
expiration of the Contingency Period or said twenty (20)-day period, Purchascr, as its sole
remedies, either may (1) terminate this Contract by giving written termination notice to Seller, or
(ii) waive any uncured Purchaser Objection, and Purchaser’s failure to timely terminate this
Contract ag 4 result of Seller’s failure to cure Purchaser's Objections shall be deemed an
election of remedy (i).

2.63 Revised Title Commitment. With respect to matters, defects, conditions or exceptions first
brought to the attention of Purchaser in a revised litle commitment delivered to Purchaser on or
after the date of notice of Purchaser's Objections are delivered in accordance with the preceding
paragraph, Purchaser shall have a period of five (5) days following delivery of such revised title
commitment to notify Seller in writing of any additional Purchaser’s Objections regarding such
new matters. Seller shall, within five (5) business days after receipt of Purchaser’s notice to
Seller of the additional Purchaser’s Objections, notiiy Purchaser in writing that: {i) Seller will
cure all or certain of the additional Purchaser’s Objections as of or prior to Closing, or (ii) Seller
will not cure all or certain of the additional Purchaser’s Objections, In the event Seller fails to
deliver the foregoing notice with respect to all or any of the additional Purchaser’s Objections,
Seller shall be deemed to have elected option Gi) above with respect to any such Purchasey’s
Objections. If Seller elects or is deemed to have elected not to cure any or all of the additional
Purchaser’s Objections, Purchaser may, as Purchasers sole and exclusive remedies, (x) waive
said Parcchaser’s Objections, (y) by written notice to Seller given within five (5) days after the
expiration of Seller’s cure peried described above, terminate this Contract, in which event
Purchaser shall be entitled to the prompt return of the Earnest Money, and Seller and Purchaser
shall have no farther obligations hereunder (except as otherwise expressly provided herein) or
(z) elect to cure said additional Purchaser’s Objections at Purchaser’s expense (subject fo
Purchaser’s tight to deduct from the Purchase Price the cost of the cure of any Curabie Matiers
Chereinafter defined) that Purchaser elects to cure after Seller's failure to cure such Corable
Matter), Failure by Purchaser to terminate this Contract by notice to Seller within such peziod

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shall be deemed a waiver by Purchaser of any Purchaser’s Objections previously raised and not
eored,

2.64 Curable Matters, Notwithstanding anything in this Section 2.6 to the contrary, Seller shall be
obligated ta cure and/or satisfy (a) any mortgage liens or mechanics and materialman’s liens not
caused by ihe acts or omissions of Purchaser or {ts agents against the Project, (b) any consensual
liens or encumbrances agreed to by Seller without Purchaser's consent on or after the Contract
Date and (c} any real estate taxes, personal property taxes, or special assessments due and
payable prior to Closing (collectively, the “Cursble Matters”), Insuring over or bonding
around mechanics’, materialmen’s and judgment licns in a manner that permits the Title
Company to issue the Title Policy (hereinafter defined) without exceptions for such Hens shall
be deemed satisfactory for compliance with this Section 2.6.4. Except for the Curable Matters
and the Purchaser’s Objections that Seller cures or agrees to cure on or prior to the Closing, all
exceptions to title shown by the Title Commitment, any revised title commitment, the Survey
and any encumbrance arising froma the acts of Purchaser shall be Permitted Exceptions for all
purposes hereunder,

2.7 Contingency Period. Purobaser’s obligations wader this Contract shall be conditioned upon the Due
Diligence Materials, the Title Commitment, the Survey, and the Project and all aspects thereof,
including by way of iflusteation all physical and environmental matters relating to the Project, being
acceptable fo Purchaser in its sole discretion; provided, however, there shall be no contingency for
Purchager’s ability to obtain financing for the acquisition of the Project. Purchaser, at its election and in
its sole discretion, may terminate this Contract by giving written notice thereof to Seller at any time
prior to 5:00 p.m. Fort Worth, Texas time on the date which is thirty (30) days following the Contract
Date (the “Contingency Pertod”), in which event Purchaser shall thereafter be entitled to obtain prompt
return of the Eamest Money, and neither party shall have any further obligation under this Contract,
except as may bo expressly provided to the contrary herein, In the event Purchaser fails to terminate
this Contract as provided in the immediately preceding sentence, Purchaser shall be deemed to have
waived its right to terminate this Contenot under this Section 2.7 and to have accepted the Land, the
Enprovements, the Title Commitment (as such may have been modified but subject to Purchaser's rights
under Section 2.6.3), and the Survey; and the Earnest Money will become non-refundable (except in the
event this Agresment terminates aa a result of Seller's default of the terms hereof or Seller fails to
satisfy a contingency provided herein) but applicable to the Purchase Price at Closing. Thereafter,
Purchaser shell have no further right to terminate this Contract except as specifically provided elsewhere
herein, and Purchaser shall be deemed to have accepted all then-existing matters relating to the Project.

3. PURCHASE PRICE,

The “Purchase Price” for the Project shall be TwO MILLION FouR HUNDRED FoRTY-THREB THOUSAND AND
NO/100 DOLLARS ($2,443,000,003, payable in all cash or other immediately available Funds at the Closing,
payable pursuant to the terms and conditions contained in this Contract, but subject to prorations as provided

below.

4, PRORATIONS.

The following items shall bs prorated as of the Closing Date and such prorations shall be reflected on the
settlement statements prepared by the Title Company on the Closing Date and shall serve to adjust the Purchase
Price. Such prorationg shall be made on the basis of a 365-day year, as of 11:59 p.m. on the day preceding the

Closing Date.

4.1 Revenues. Ail rentals, receipts and other revenues from the Project, if any, which have been actually
received by Seller and which are allocable to the perlod from and efter the Closing Date shall be

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credited to Purchaser. Purchaser shall be entitled to collect all rentals, receipts and other revenues from
the Project which are delinquent or due on or after the Closing Date. All rentals, receipts, and other
revermes of any kind whatsoever (together, “Revemues”} from the Project collected by Purchaser shall
be credited: (a) if specifically identified by reference to invoice or month, to such inveice or month; and
(b) if not so specifically identified, first to current Revenues not delinquent, and second to delinquent
Revenues, in the inverse order of delinquency. All Revenues which relate to the month in which the
Closing Date occurs shall be credited first io Revenues for the month in which the Closing Date occurs,
and second to delinquent Revenues, in the inverse order of delinquency, Any such delinquent Revenues
when applied as provided herein which relate in whole or in part to any period prior to the Closing Date
shall be remitted by Purchaser to Seller when collected by Purchaser (net only of any reasonable
collection expenses actually incurred by Purchaser), Any such delinquent Revenues when applied as
provided herein, which relate in whole or part to any period on or subsequent to the Closing Date shail
be remifted by Seller to Purchaser when and if collected by Seller (net only of any reasonable collection
expenses actually ineurred by Seller). Seller shall have the right to enforce and collect any Revenues
that are altrilnitable to periods before the Closing Date by any means other than exercising termination
or termination of possession rights or other rights under the Tenant Lease (except that Seller shall at all
time have the right to bring a suit or suits for damages to collect any Revenues), and Purchaser shall
reasonably cooperate in such enforcement and collection efforts at no cost to Purchaser other than any
attorneys’ fees incurred by Purchaser, ,

4.2 Property Taxes, Seller shall be responsible for all ad valorem taxes and assessments, general and
special, with respect fo the Project for periods prior to the calendar year containing the Closing Dats.
Ad valorem taxes and assessments, general and special, with respect to the Project for the calendar year
containing the Closing Date shall be prorated hetween Seller and Purchaser at Closing, as of the Closing
Date subject to the terms of the Tenant Lease. All ad valorem tax prorations shall be based on tax rates
and assessments for the calendar year containing the Closing Date unless such rates and/or assessments
are unavailable. If either the tax rates or the tax assessments for the Project for the calendar year
containing the Closing Date are not available, then such proration shall be made based on the tax tates
and assessments for the prior year (or if only the assessed value for the calendar year containing the
Closing Date is known, then based oa the prior year’s tax rates and the current year’s assessed value),

and shall be adjusted by cash settlement between Seller and Purchaser according to terms of the Tenant
Lease after the Closing as soon as such rates and assessments for the year of the Closing are available,
The provisions of this Section 4.2 shail survive Closing.

4.3 Security Deposit, All security and other deposits, if any, inchiding any accrued interest thereon, if such
inferest is required to be remitted to Tenant pursuant to the Tenant Lease, held by Seller on the Closing
Date on behalf of Tenant under the Tenant Lease shall be credited to Purchaser.

44 Utility Charges, Final meter readings on all utilities charged to the Project and not payable by Tenant
shall be made as of the day preceding the Closing Date. Seller shall arrange for and pay for fal
billings of utilities to the day preceding the Closing Date, Consistent with the terms of the Tenant Lease,
Tenant shall be responsibie for any and all utility billings on or after the closing date,

4,5 Service Contracts. Seller shall pay (or be charged by a provation for) all charges due pursuant to any
service contracts affecting the Project, if any, which are allocable to the period prior to the Closing Dato,
and consistent with the terms of the Tenant Lease, Tenant shall be responsible for‘any and all service
contract charges on or after the closing date.. Prepaid charges allocable to the period from and after the
Closing Date in connection with such contracts shall be credited to Seller at Closing. Accrued and
unpaid charges allocable to the pericd prior to the Closing Date in connection with such contracts shall
be credited to Purchaser at Closing. The provisions of this Section 4.5 shall survive Closing.

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46 Licenses and Permits. Prepaid charges allocated to the period from and after the Closing Date in
connection with any licenses or permits for the Project, if any, shall be credited to Seller at Closing.
Accrued and unpaid charges allocable to the period prior to the Closing Date in connection with any
such licenses or pennits, if any, shall be credited to Purchaser at Closing.

47 Operating Expenses, The Project is being sold as an Absolute Net Lease property transaction and all
temas relating to any and all operating expenses shall be consistent with the terms of the Tenant Lease
dated February 27, 2015, Except as otherwise expressly provided herein to the contrary and except to
the extent the responsibility of Tenant wader the Tenant Lease, Seller shall be responsible for and bear
all operating expenses for the Project accrued for the periad prior to the Closing Date and Texant shail
be responsible for and bear all operating expenses of the Project accrued for the period on and after the
Closing Date. Prorations of items under Sections 4.5 and 4,6, shall be made at Closing on the best
information available with mm adjustment and reconciliation to the extent necessary on 2 mutually agreed
date within ninety (90) days following the Closing Date, with payment from one party to the ofher (fo
the extent required) to be made within thirty (30) days following reconciliation. Suck: prorations, as
adjusted as of the ninetieth (90°) day following the Closing Date, shall be considered final and binding
for all purposes absent material mistake of fact. To the extent that the Tenant Lease provides for any
adjustracnt of previously paid estimated amounts of real estate tax or opetating expense reimbursements
on a date subsequent to the Closing Date, Seller shall be entitled to recelve, or shall be responsibls to
pay, as the case may be (when auch amounts are actually received or payable by Purchaser), Seller’s
pro-rata share of any such adjusted amounts that are applicable to perlods ending prior to the Closing
Date, After Closing, Seller agrees to reasonably cooperate with Purchaser in providing Purchaser access
to Sellex’s books and records relating to such adjustments under the Tenant Lease so that Purchaser may
adequately perform such adjustments.

The provisions of this Section 4 shall survive Closing.
5, CONDITIONS PRECEDENT TO CLOSING,

51 Purchaser's Conditions to Closing. ‘The obligation of Purchaser to purchase the Project from Seller, and
to perfonn the obligntions required to be performed by Purchaser at the Closing, are subject to each of
the following conditions (“Purchsser’s Conditions"):

5.1.1 Closing Documents. Seller shall have tendered at Closing all Closing Documents (as
hereinafter defined) to which Seller is a party.

5,12 Compliance with Agreement. Seller shall have performed and complied in all material respects
with its covenants and obligations under this Contract such that any default or failare of
performance of Seller as to which Purchaser has delivered written notice to Seller shall be cured
in all material respects prior to or at Closing,

5.1.3 Representations and Warranties. All of Selier’s representations and warranties under Section
8.2 are itue and correct in all material respects ag of Closing; provided, however, it shall not be
a condition to Purchaser’s obligations hereunder if any items which may indicate Seller’s
representations and warranties under Section 8.2 are not tue aud correct have been {i) disclosed
to Purchaser prior to the Closing Date, or (ii) discovered by Purchaser during the Contingency
Period and Purchaser has elected not to terminate this Contract due to such item(s) prior to the
expiration of the Contingency Period,

5,14 Title. The Title Company shall be prepared to issue an owner’s policy of title insurance in the
: amount of the Purchase Price (the “Tile Polley”) insuring Purchaser's fee skmple title to the

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Land and the Improvements showing no exceptions other than the Permitted Exceptions and
reservation of the Mineral Estate.

If any of the Purchaser’s Conditions have not oecurred or been satisfied within the time periods and in
accordance with the terms set forth herein, then Purchaser shall have the right to terminate this Contract by
written notice to Seller, in which event the Earnest Money shall be returned to Purchaser, ail obligations of the
parties hereto shall thereupon cease (except as may be expressly provided to the contrary herein) and this
Contract shall thereafter be of no further force and effect, unless such failure of the condition constitutes. a
default on the part of Purchaser under any other provision of this Contract. ,

5.2 Closine Conditions for Seller. Seller's obligations to close on the Closing Date are conditional and
contingent on the following, unless waived in writing by Seller (the “Seller’s Conditions”):

5.2.1 Purchase Price. Purchaser shall have tendered the Purchase Price into escrow with the Title
Company,

5.2.2 Closing Documents. Purchaser shall have tendered at Closing ail Closing Documents to which
, Purchaser is a party.

5.2.3 Compliance with Agreement. Purchaser shall have performed and complied with its monetary
obligations under this Contract such that any defanit or failure of performance of Purchaser as
to which Seller has delivered written notice to Purchaser shall be timely cuted prior to or at
Closing and Purchaser shail have performed and complied in all material respects with its other
obligations under this Contract such that any default or failure of performance of Purchaser as
to which Seller has delivered written notice to Purchaser shall be timely cured in all material
respects prior to or at Closing.

5.2.4 Representations and Warranties, All of Purchaser’s representations and warranties under
Section 9.1 and Section 9.2 are true and correct in all respects as of Closing.

if any of the Seller’s Conditions have not occurred or been satisfied within the time periods and in accordance
with the terms set forth herein, then Seller shall have the right to terminate this Contract by written notice to
Purchaser, in which event the Harnest Money shall be paid to Seller, al! obligations of the parties hereto shall
thereupon cease (except as may be expressly provided to the contrary herein) and this Contract shall thereafter
be of no further force and effect, unless such failure of the condition constitutes a default on the part of Seller
under any other provision of this Contract,

6. CLOSING DOCUMENTS.

On the Closing Date, (or such earlier date as expressly hereinbelow provided), Seller {and Purchaser where
applicable) shall deliver, or catise to be delivered, to the Title Company the following fully executed documents
and/or items, acknowledged where appropriate(collcctively referred to herein as the “Closing Documents”):

6.1 Deed. A SpecialWarranty Deed (“Deed”) in the form attached hereto as Exhibit 6.1 conveying the
Land, the Improvements, and the Appurtenances to Purchaser, subject only to current, non-delinquent
real property taxes and assessmetits.,

62 Bill of Sale, A duly executed Bill of Sale in the form attached hereto as Exhibit 6.2 conveying title to
the Personalty to Purchaser and assigning to Purchaser the Intangible Property and all of Seller’s interest
in the Service Contracts, together with an assumption thereof by Purchaser of all obligations accruing
thereunder from and after the Closing Date. The Service Contracts, if any, in Seller's possession will be
delivered to Purchaser immediately after Closing.

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6.3 Assignment and Assumption of Lease. An Assignment and Assumption of Lease in the form attached
hereto as Exhibit 6.3 assigning to Purchaser all of Seller's (or Seller’s affiliate’ s) interest as landlord in
the Tenant Lease together with an assumption thereof by Purchaser of all obligations aceruing from and
after the Closing Date. The Tenant Lease in Sellex’s possession will be delivered to Purchaser
immediately after the Closing.

64 ‘Tenant Notice. Notice to Tenant under the Tenant Lease in the form attached hereto as Exhibit 6.4
informing Tenant of the sale of the Project to Purchaser.

6.5 Settlement Statement. A settlement statement prepared by the Title Company and acceptable to
Purchaser and Seller showing all cash receipts and disbursements fo be made by the Title Company on
the Closing Date.

6.6  Non-Foreipn Status Affidavit. An Affidavit of Non-Foreign Status executed by Seller in the form of
that attached hereto as Exhibit 6.6,

6&7 Other Documents. Other certificates and documents that are reasonably acceptable to the signing party
and are customarily required to effect the closing of the sale of the Project and related transactions

contemplated by this Contract.

Purchaser shall execute and acknowledge the assignment documents tendered by Seller with respect to the
Tenant Lease, the BU of Sale and other docaments requiring execution by Purchaser as set forth in Sections 6.1

«6.7 above.
7. CLOSING.

Wt Closing. This transaction shall close, as evidenced by recordation of the Deed and delivery of the
Purchase Price (net of prorations and Seller’s share of closing costs pursuant to this Contzact) (the
“Closing”), on or before the date that is fifteen (15) days after the expiration of the Contingency Period
(or such earlier date as both parties may mutually agree in writing) (the “Closing Date”) (provided that
if such date is not a business day in Tarrant County, Texas, the Closing shail be held on the next
businesa day thereafter). .

72 Place, The Closing shall take place through escrow on the Closing Date in the offices of the Title
Company, or such other office as is reasonably acceptable to the parties. Neither party shall be required
to attend the Closing in person. Upon the completion of the Closing, the parties shall instruct the Title
Company to record the Deed in the appropriate land records @rovided that Title Company has
committed to deliver the Title Policy) to effect the transfer and conveyance of the Project to Parchaser.
Upon such recording and agreement to deliver the Title Policy as described in this Contract: (a) the
parties shall cause the Title Company to disburse funds to Seller in the amount of the Purchase Price
(subject to the prorations provided for herein and less Seller's share of closing costs provided for herein)
and (b) the parties shall cause the Title Company to deliver ali documents exeouted in accordance with
this Contract to the parties in accordance with written instructions received by the parties.

73 Payment of Purchase Price. Purchaser shail deliver to the Title Company on the Closing Date
immediately available funds in the amount of the Purchase Price plus any prorations credited to Seller,
costs and expenscs hereunder payable by Purchaser, and less the amount of the Independent
Consideration and the Earnest Morey (and any interest thereon) and any costs payable by Seller and
prorations credited to Purchaser. The net amount of the Purchase Price, including the Earnest Money,
due to Seller as shown on the setflement statement approved by Seller shall be paid to Seller on the

Closing Date.
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7.4 Possession. Possession of the Project shall be delivered to Purchaser on the Closing Dste, subject only
to the rights of Tenant under the Tenant Lease and possessory rights of other parties contained in the
Permitted Exceptions,

7.5 Closing Costs. Seller shall pay at Closing the premium for the Standard Owner's Title Policy
(excluding the premium for aity extended coverage and endorsements, if Purchaser requests same,
which shall be the responsibility of Purchaser) and one-half of any escrow fees, Purchaser shall pay for
one-half of any escrow fees, all costs associated with any financing, the portion of the premium for any
endorsements Purchaser desires to obtain to the Title Policy, any costs to update the Survey, the costs of
all appraisals, engineering and environmental reports and feasibility and market studies which it may
obtain, warranty transfer fees, transfer and/or documentary stamp taxes, and recording fees for the Deed
and assignments to be delivered at Closing. Seller and Purchaser shall eack be responsible for paying
their respective legal fees and costs.

76 Brokerage Commissions, Each pariy shall pay any brokerage commissions due as provided in Section
13 below,

8. COVENANTS, REPRESENTATIONS AND WARRANTIES OF SELLER.
8.1 Seller's Covenants. Seller hereby covenants and agrees as follows:

8.1.1 Insurance, Atal times from the date hereof to the date preceding the Closing Date, Seller shall
cause to be maintained in force, fire and extended coverage insurance aad commercial general
liability insurance upon the Project in amounts not less than the amounts of the insurance
coverage on the Project on the Contract Date,

8.1.2 Operation and Maintenance, At all times from the Contract Date to the day immediately before
the Closing Date, Seller shall operate and maintain the Project in substentially the same manner
as it is now operated and maintained, and Seller shall maintain the physical condition of the
Project in substantially its current condition, reasonable and ordinary wear and tear nnd daraage
by Purchaser and its agents and by fire and cagualty excepted,

8.1.3 Pergonalty, Seller shall not transfer nor remove any Personalty that is material to the operation
or value of the Project fram the Project subsequent to the Contract Date unless Seller replaces
the same prior to the Closing Date with Personalty of equivalent or better utility and quality to
the items replaced,

8.1.4 Title. From and after the Contract Date, Seller shall not further encumber the Project in any
consensual manner without the written consent of Purchaser, and in all events Seller shall not
place any further monetary liens on the Project except those arising by operation of law.

8.1.5 Copies of Material Notices. Seller shall provide te Purchaser promptly following Seller's
receipt (i) any written noticcs of material default or alleged material default under the Tenant
Lease or by any party under any of the Service Contracts delivered or received by Seller from
and after the Contract Date and Gi) any written notices with respect to the Project received by
Seller from and after the Contract Date.

B.1.6 Service Contracts, Seller shall not enter into any new service contracts affecting the Project
without Purchaser's prior written approval, which shall not be unreasonably withheld or

delayed.

 

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8.1.7 Tenant Lease. From and after the expiration of the Contingency Period, Seller shall not
terminate or materially modify the Tenant Lease or enter into any new leases without the prior
written consent of Purchaser, not to be unreasonably withheld or delayed except (a) as may be
required under the terms of the Tenant Lease, or (b) with respect to termination, ia the avent of
a default by the tenant thereunder, Seller shall not grant any consent to any assignment or
sublease under arly Lease unless, in Seller's good faith judgment, it is obligated to grant such
consent. Seller shall comply in all material respects with the obligations of the landlord under
the Tenant Lease.

&.18 Estoppel Certificate, No later than five (5) days prior to the Closing Date, Seller will cause
Tenant to deliver to Purchaser for its benefit an executed Estoppel Certificate in the form
substantially similar to that attached hereto as Exhibit 8.1.8. The Closing Date may be extended
as necessary to comply with this provision.

8.2 Seller’s Representations and Warranties. Seller hersby represents and wartants to Purchaser the
following as of the Conizact Date:

8.2.1 Company and Authorization Matters, Seller is a limited lability company duly organized and
validly existing under the laws of the State of Texas, Seller is in good standing in Texas and is
authorized to transact business in Texas. Seller has full power and authority to execute and
deliver this Contract and perfor all of its obligations under this Contract, All consents,
authorizations and approvals which may be required in order for Seller to enter into this
Contract or consummate the transactions contemplated hereby have been obtained. The person
executing this Contract on behalf of Seller has been duly authorized and empowered to bind
Seller to this Contract.

82.2 No Conflict with or Breach of Other Agreements, Neither the execution and delivery of this

Contract, nor the incurrence of the obligations herein set forth, nor the consummation of the
transactions provided for herein, nor compliance with the terms of this Contraot, conflict with or
result in a breach of any of the terms, conditions, or provisions of, or constitute a default under,
any bond, note, or other evidence of indebtedness, or any indenture, mortgage, deed of trust,
loan agreement, lease, or other material agreement or instrament to which Seller is a party or by
which ary of the Project may be bound.

8.2.3 No _Bankroptey, Insolvency or Reorganization Proceedings. Seiler has not filed any

assignments for the benefit of creditors, insolvency, bankruptey or reorganization proceedings
and no such proceedings have been filed against Seller.

8.2.4 Litigation. To the best of Seller’s current, actual knowledge, there is no pending litigation or
other proceeding against Seller relating to the Project, including without limitation any

condemnation action,

82.5 No Pending Sale Contracts. Except for this Contract, Seller has not entered into any other
currently effective agreements for the sale of the Project.

82.6 NotaForeign Person. Seller is not a “foreign person” within the meaning of Section 1445 of
the Internal Revenue Code of 1986, as amended,

8.3 Survival, The representations and warranties of Seller contained in this Contract shall survive the

Closing Date and the recordation of the Deed for a period of six (6) months, at which time they will be
deemed to be merged into and superseded by the Closing Documents, except to the extent written notice

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of specific claims have been delivered by Purchaser to Seller prior to the expiration of such six raonth
period,

8.4 Limitations. Notwithstanding anything in this Contract io the contrary, Seller’s lability for breaches of
the foregoing covenants, representations and warranties is subject to the following limitations:

8.4.1 Claim Must be Brought Within Six Months. Any claim by Purchaser against Seller for 2 breach
of a covenant, representation or warranty must be brought within six months following the

Closing Date.

8.4.2 No_Clainy for Breach of Representation as to which Purchaser fas Actual Knowledge.
Purchaser shall have no claim gor any breach of a representation or warranty by Seller as to
which Purchaser has knowledge of the untruth or inaccuracy thereof on the Contract Date or
unless Purchaser asserts such claim prior to Closing.

84.3 Breach of Covenant as to which Purchaser has Actual Knowledges. Purchaser shall have no
claim for any: breach of o covenant by Seller as to which Purchaser has actual knowledge prior
to Closing. .

 

B44 o. Liability for Consequential or Punitive Damages, Seller shall never be Hable to the
Purchaser under this Contract for lost profits or other Special, incidental or consequential
damages or for punitive or exemplary damages.

9. PURCEASER’S REPRESENTATIONS AND WARRANTIES.
Purchaser hereby represents and warrants to Seller the following as of the Contract Date:

91 No Conflict with or Breach of Other Apreements. Neither the execution and delivery of this Contract,
nor the incurrence of the obligations herein set forth, nor the consummation of the transactions provided
for herein, nor compliance with the terms of duis Contract, conflict with or result in a breach of any of
the terms, conditions, or provisions of, or constitute a default under, any bond, note, or other evidence of
indebtedness, or any indenture, morigage, deed of trist, loan apreement, lease, or other material
agreement or instrament to which Purchaser is a party.

 

92 Survival, The representations and warranties of Purchaser shail survive the Closing Date and the
recordation of the Deed for a period of six (6) months, except to the extent written notice of specific
claims have been delivered by Seller to Purchaser prior to the expiration of such six-month period,

10. CONDITION OF THE PROJECT.

10.1 Asis Conveyance. EXCEPT FOR THOSE REPRESENTATIONS AND WARRANTIES SHT FORTH
IN SECTION 8,2 OF THIS CONTRACT, PURCHASER ACKNOWLEDGES THAT IT IS NOT
RELYING ON ANY REPRESENTATIONS OR WARRANTIES WHATSOEVER BY SELLER OR
ANY AGENT OR EMPLOYEE THEREOF REGARDING THE PROJECT, INCLUDING, WITHOUT
LIMITATION, ITS PHYSICAL CONDITION, ITS SUITABILITY FOR ANY PARTICULAR
PURPOSE, ITS COMPLIANCE WITH LAWS, INCLUDING, WITHOUT LIMITATION,
ENVIRONMENTAL LAWS, OR THE PRESENCE OR ABSENCE OF CHEMICALS, TOXIC OR
HAZARDOUS SUBSTANCES, MATERIALS OR WASTES THEREUPON, AND SELLER
EXPRESSLY DISCLAIMS ANY AND ALL SUCH REPRESENTATIONS AND WARRANTIES,
EXPRESS OR IMPLIED, EXCEPT FOR ANY LIMITED WARRANTIES CONTAINED HEREIN
AND THE SPECIAL WARRANTY OF TITLE TO BE CONTAINED IN THE DEED TO BE
DELIVERED AT THE CLOSING. PORCHASER SHALL ACCEPT THE PROTECT IN ITS “AS IS”,

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“WHERE IS”, “WITH ALL FAULTS” CONDITION, AND SELLER HEREBY DISCLAIMS ANY
WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE,
EXPRESS OR IMPLIED. AFTER CLOSING, SELLER SHALL BE UNDER NO OBLIGATION
WHATSOEVER TO UNDERTAKE ANY REPAIR, ALTERATION, REMEDIATION OR OTHER
WORK OF ANY KIND WITH RESPECT TO ANY PORTION OF THE PROTECT.

EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS CONTRACT OR ANY CLOSING
DOCUMENTS, SELLER MAKES NO REPRESENTATION OR WARRANTY AS TO THE TRUTH,
ACCURACY OR COMPLETENESS OF ANY MATERIALS, DATA OR OTHER INFORMATION
DELIVERED BY SELLER TO PURCHASER IN CONNECTION WITH THE TRANSACTION
CONTEMPLATED HEREBY.

PURCHASER ACKNOWLEDGES THAT IT IS A SOPHISTICATED REAL ESTATE INVESTOR
WHO SHALL HAVE HAD, AS GF THE CLOSING DATE, OPEN ACCESS TO, AND SUFFICIENT
TIME TO REVIEW, ALL INFORMATION, DOCUMENTS, AGREEMENTS, STUDIES AND
TESTS RELATING TO THE PROJECT THAT PURCHASER ELECTS TO CONDUCT, AND
CONDUCT A COMPLETE AND THORGUGH INSPECTION, ANALYSIS AND EVALUATION OF
THE PROJECT, INCLUDING BUT NOT LIMITED TO ENVIRONMENTAL ISSUES, IF ANY,
AND SHALL CONDUCT SUCH TESTS, PRIOR TO THE CLOSING DATE, AND RECEIVE AND
REVIEW SUCH INFORMATION AS PURCHASER SHALL REQUIRE IN THE COURSE OF ITS
INVESTIGATION.

PURCHASER SHALL UNDERTAKE SUCH INVESTIGATION AS SHALL BE REQUIRED TO
MAKE PURCHASER FULLY AWARE OF THE CONDITION OF THE PROJECT, INCLUDING
THE ENVIRONMENTAL CONDITION OF THE LAND, AS WELL AS ALL FACTS,
CIRCUMSTANCES AND INFORMATION WHICH MAY AFFECT THE USE AND OPERATION
OF THE PROJECT, AND PURCHASER COVENANTS AND WARRANTS TO SELLER THAT
PURCHASER SHALL RELY, EXCEPT TO THE EXTENT OF SELLER'S REPRESENTATIONS
AND WARRANTIES CONTAINED HEREUNDER, OR IN ANY CLOSING DOCUMENTS,
SOLELY ON PURCHASER’S OWN DUE DILIGENCE INVESTIGATION IN DETERMINING TO
PURCHASE THE PROJECT. NOTWITHSTANDING THE ABOVE, EXCEPT TO ANY
INFORMATION DISCLOSED TO PURCHASER IN THE DUE DILIGENCE MATERIALS, TO THE
BEST OF SELLER’S ACTUAL KNOWLEDGE, SELLER IS UNAWARE OF ANY EXISTING
MATBRIAL BNVIRONMENTAL OR OTHER LEGAL VIOLATIONS WHICH WOULD BAR THE
OPERATION OF A RETAIL RESTAURANT.

THE PROVISIONS OF THIS SECTION 10.1 SHALL SURVIVE THE CLOSING OR EARLIER
TERMINATION OF THIS CONTRACT WHETHER OR NOT INCORPORATED INTO THE DEED
TO BE DELIVERED AT CLOSING, ;

10.2 Waiver and Release. As a material inducement to Seller to enter into the Contract, and with the
exception of those remedies expressly provided in this Contract with respect fo a breach by Seller of its
express representations and warranties set forth herein, effective as of the Closing, Purchaser, for itself
and on behalf of its successors and agsigns, hereby irrevocably and unconditionally waives, releases,
acquits, compromises with and forever discharges the Seller and each of the Seller’s predecessors,
suceessors, assigns, agents, partners, directors, offiecrs, employees, insurance companies,
representatives, attorneys, divisions, subsidiaries, affiliates (and partners, agents, directors, officers,
employees, representatives and attomeys of such parent companies, divisions, subsidiaties and
affiliates), and all persons acting by, through, under or in concert with any of them (collectively
“Released Parties”), from and for all charges, complaints, claims, liabilities, obligations, promises,
agreements, controversies, damages, ections, causes of action, suits, rights, demands, costs, losses, debts
and expenses (including attorney's fees and costs actually incurred) of any nature whatsoever, known or

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unimown, suspected or unsuspected, arising in connection with the Project, whetlter prior to or after the
Closing, including, but not Limited to claims under any federal, state or focal laws, including, without
limitation, Environmental Laws (as defined below}, which Purchaser now or in the fature has, owns or
halds, or claims to have, own or hold, or claimed to have, own or hold against any of the Released
Parties, As used herein, the term “Envirenmental Laws” means any federal, state or local statute, law,
rule, regulation, ordinance or code in effect and applicable to the Project on the Contract Date, and any
judicial or adreinistrative order, consent decree, judgraent or directive in effect and applicable to the
Project on the Contract Date, rejating to the protection of environment, natural resources, hazardous
substances, solid waste, petroleum hydrocarbons or refined products, including without limitation, the
Federal Comprehensive Environmental Response, Compeasation and Liability Act of 1980, 42 U.8.C,
§ 9601 ct. seg., ("CERCLA") the Superfind Amendments and Reauthorization Act, 42 U.S.C, §§ 9601
at. seq., the Federal Toxic Substances Control Act, 15 U.S.C, §§ 2601 et. seq., the Federal Resource
Conservation and Recovery Act, 42 U.S.C. §§ 6901 et. seq. the Federal Hazardous Material
Transportation Act, 49 U.S.C. §§ 1801 et. seq., the Federal Clean Air Act, 42 U.S.C, § 7401 et. seq,, the
Federal Water Pollution Control Act, 33 U.S.C. § 1251 st. seq, cach amendment to such laws, the
regulatious promulgated pursuant thereto, and eack and every comparable statute or ordinance adopted
by the jurisdiction(s) wherein the Project is located, including all rules and regulations promulgated
under such laws, acts or ordinances. The provisions of this Section 10.2 shall survive the Closing
whether or not incorporated into the Deed to be delivered at Closing.

{1, CASUALTY AND CONDEMNATION,

1L1 Risk of Loss, Seller shail bear all risk of loss or darnage to the Project from all causes untll the Closing;
and is responsible for the costs of any significant repaits consistent with the terms of this Agreement;
provided, however, Seller shall have no obligation to repair such loss or damage,

1i.2 Purchaser's Option to Terminate. If prior to the Closing (2) any portion of the Project (other than an
immaterial portion} is destroyed by fize, the elements or by any other casualty which is not tepaired
prior to Closing, or (ii) any portion of the Project is taken by eminent domain, or made the subject of
condemnation proceedings (or proposed or threatened, condemmation proceedings), Seller shall give
Purchaser prompt written notice thereof and Purchaser may elect, by written notice to Seller within the
earlier of (3 ten (10) days after Purchaser shall have received written notice of such event from Seller,
or (i) the Closing Date, to terrainate this Contract without further Hability. If prior fo the Closing an
immaterial portion of the Project is destroyed by fire, the elements or by any other casualty which is not
repaired prior £0 Closing, (x) if such casualty occurs prior to the expiration of the Contingency Period,
Purchaser may elther terminate this Contract in accordance with Section 2,7 or receive a credit of the
proceeds at Closing in accordance with Section 11.3.1 below, or (y} if such casualty oceurs after the
expiration of the Contingency Period and prior to the Closing Date, Seller may elect to either (1)
terminate this Contract, in which event. the Eamest Money shall be returned to Purchaser and Seller and
Purchaser shall have no forther obligations hereunder, or (2) credit any proceeds on account of the
Purchase Price, including the sum of any deductible under any applicable insurance policy, in
accordance with Section 11.3.1 below. For the purpoaca of this Section 11, an “immaterial portion” of
the Project shall mean auy portion thereof valued at less than $100,000.00, If Purchaser elects to
ierminate this Contract, as aforesaid, then the Title Company will return the Bamest Money to Purchaser
free and clear of all rights and claims of Seller with respect thereto, and thereafler neither Seller nor
Purchaser shall have any further rights or obligations hereunder (except as otherwise provided herein).

113 Failure to Terminate, If any portion of the Project is destroyed by casualty, taken by eminent domain or
made the subject of condemnation proceedings (or proposed or threatened condemnation proceedings),
and Purchaser dees not elect to terminate this Contract pursuant to Section 11,2 hereog, then at the

Closing the following shall occur

FORCHASE AND SALE AGREEMENT ple Page 14

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11.3.1 Credit of Award or Proceeds, Seller shall credit on account of the Purchase Price the amount,
as applicable, of all condernnation awards actually received by Seller or any sums of money
collected by Seller (whether retained by Seller or paid directly to a holder of any lien on the
Project) under its policies of insurance or renewals thereof insuring against the loss in question.

11.3.2 Assignment of Future Awards. In the case of a condemnation, Seller shatl also assign, transfer
and get over to Purchaser ell of Seller’s right, title and interest in and to (a) such claims and
further suns payable thergunder, and (b) any awards that may be made with respect to any
pending or future condemnation proceeding,

LL4 Control _of Condempation. Proceedings Before Bnd of Contingency Period. Jn the event of
condemnation proceedings, Seller shail have total control and authority over such proceedings and the
prosecution of any claim therein unless the Contingency Period has expired (or Purchaser affirmatively
waives the Contingency Period in writing), and unless and until Purchaser has waived its right to
terminate under this Section 11. Selfer shail keep Purchaser currently apprised of all actions taken or
agreed to by Seller in such proceeding prior to Purchaser's election to waive the Contingency Period (if
not already expired) and/or its termination option hereunder, such that any decision by Purchaser shall
be made based on the then-current status of the proceeding, and the Closing Date may be extended at
Purchaser's option, If the Contingency Period has expired, Seller agrees that it will mot agree to an
award or convey the Project to the condernning authority in liew of condemnation during Purchaser's
tetmination election period set forth in Section 11,2.

11.5 Control of Condemnation Proceedings After Purchaser is “At-Risk.” After the Contingency Period has

expired or been waived and after Purchaser makes an election under this Section 11 not to terminate (if
Purchaser so elects), Purchaser shall be entitled to participate in any condemnation proceeding on an
equal basis with Seller and veto any proposed award or settlement not acceptable to Purchaser.

12, DEFAULT AND REMEDIES.

12.1 Purchaser’s Default, 1f Porchaser is in default (which default includes Purchaser failing to close as
required by and in accordance with the terms of this Contract) of this Contract prior to or at the Clesing
and Seller elects to terminate this Contract due to Purchaser’s default, the Eamest Money shali te
forfeited by Purchaser and retained on behalf of Seller, and both parties shall thereafter be released from
all further obligations under this Contract, except as expressly provided to the contrary herein.

Purchaser and Seller acknowledge that Seller's damages would be difficult or impossible to determine
in the event of Purchaser's failure to perform its obligations wader this Conizact and that the Earnest
Money and such other things of value are @ reasonable estimate of such damages. The Bamest Meaney
and such other payments and things of value shall, therefore, be liquidated damages to Seller and
retention thereof shall be Seller's sole and exclusive remedy for Purchaser's failure to perform its
obligations under this Contract. In the alternative to retaining the Earnest Money as liquidated damages,
Seller may elect to maintain this Contract in full force and effect and bring suit for specific performance.
If Seller does not bring suit within thirty (30) days of the scheduled Closing Date, Seller shall be
deemed to have elected to retain the Harnest Money as liquidated damages and terminate this Contract.
Seller waives all other remedies, including snit for damages other than retention of the Barnest Money.

12.2 Seller’s Default, If Seller is in default of any covenant contained in this Contract and continues to be in
default after notice thereof from Purchaser and fen (10) days’ opportunity to cure the same, Purchaser
may elect by written notice to Seller:

@ To terminate this Contract, in which case Seller shall, within two (2) business days after receipt
of such notice, notify the Title Company in writing to return tha Eamiest Money and all interest

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cared thereon to Purchaser, and thereafter neither party shall have any further obligation under
this Contract, except as expressly provided to the contrary herein, or,

Gi) To maintain this Contract in full force and effect and bring suit for specific performance.
Parchaser expressly waives all other remedies, inclading suit for damages, provided that
nothing herein precludes a claim against Seller after Closing for a breach of any representations
and warranties, subject to the liroitations of Section 8.4 hereof. If Purchaser does not bring suit
within thirty (30) days of the scheduled Closing Date, Purchaser shall be deemed to have
elected option (i) above.

13, BROKERAGE COMMISSIONS,

Purchaser hereby represents and warrants to Seller that Purchaser has not incurred, and shall not have incurred
as of the Closing Date, any lability for the payment of any brokerage fee or commission in connection with the
transaction contemplated in this Contract. Seller hereby represents and warrants to Purchaser that Seller hay not
incurred, and shail not have incurred as of the Closing Date, ony liability for the payment of any brokerage fee
or commission in connection with the transaction contemplated in this Contract, except for P-rime Company,
‘whose commission shall be paid by Seller in an amount equal to two percent (2%) of the Purchase Price. Such
commission, shall be earned and payable if and only if the Closing is consummated. Seller and Purchaser hereby
agree to defend, indemnify and hold harmless the other from and against any and all claims of any other person
claiming a brokerage fee or commission through the indemmifying party. This indemnification agreement shall
survive Closing.

14. MISCELLANEOUS,

14,1 Entlre Apreement, This Contract supersedes all prior and contemporaneous discussions, agreements
and understandings between Seller and Purchaser and constitutes the entire agreement between Seller
and Purchaser with respect to the transaction heroin contemplated. This Contract may be amended or
modified only by a written instrument executed by Seller and Purchaser.

14.2 Waiver. Each party hereto may waive any breach by the other party of any of the provisions contained
in this Contract or any defanit by such other party in the observance or performance of any covenant or
condition required to be observed or performed by it contained herein, PROVIDED, ALWAYS, that
such waiver or waivers shall be in writing, shall not be constnied aa a continuing waiver, and shall not
extend to or be taken in any manner whatsoever to affect any subsequent breach, act or omission or
default or affect each party’s rights resulting therefrom. No waiver will be implied from any delay or
failure by either party to take action on account of any default by the other party. No extension of time
for performance of any obligations or acts shail be deemed an extension of the tne for performance of

any other obligations or acts,

143 Notices. All notices and demands given or required to be given by any party hereto to any other party
(“Netiees “} shall be in writing and shall be delivered in person or sent by facsimile with electronic
confirmation of receipt thercof, or by a reputable overnight carrier that provides a receipt, such as
Federal Express or UPS, or by registered or certified U.S, mail, postage prepaid, addressed as follows
{or sent to such other address ag any party shall Specify to the other party pursuant to the provisions of

this Section}:

Seller: Verdad Real Estate, Inc,
1211 5, White Chapel Blvd,
Southlake, Texas 76092

Attention: Jason Keen
Tel: 817,912,0222

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with a copy to:

To Purchaser:

with a copy to:

To the Title Company:

Fax: 817.912.0550
Email: jkeen(@@verdadrealestate.com

Baker Monroe PLLC

505 Pecan Street, Suite 101
Fort Worth, Texas 76102

Attu: justin Huston

Tel: 817.632.6301

Fax: 817.900.8585

E-Mail: jhuston@bamolaw.com

Ching Family Trust B

Donna ¥. T Ching, Trustce
1560 N. Michilinds Ave
Pasadena, CA 91107

Atte: Mike Ching

Phone: (626) 319-8630
Facsimile:

E-Mail: mching2? 1 @yahoo.com

Paul Matusik, P-Prime Company
16033 Bolsa Chiea St. Suite 104-132
Huntington Beach, CA 92649
Phone: 855-933-4100

Facsimile: 888-711-0660
E-Mail: pmatusik@p-rime.com,

Fidelity National Title Agency, Inc.
$50 E. State Highway 114, Suite 200
Southlake, Texas 76092

Atty: Stephanie Kleam

Phone: 817.442.1111

Fax: 817.442.9997

E-Mail: skleam@fidelity-usa.com

All Notices delivered in the manner pravided herein shall be deemed given upon actual receipt (or attempted
delivery if delivery is refused}. Facsimile transmissions shall be deemed given upon electronic confirmation of
such transmission.

14.4

14.5

Successors and Assigns. This Contract shall be binding upon, and inure to the benefit of, the parties
hereto and their respective successors and assigns, This Contract may not be assigned by Purchaser
without the prior written consent of Seller. Notwithstanding the foregeing, Purchaser shall not be
released of any of its obligations under this Agreement. This provision shall survive Closing,

Choice of Law. Venue and Forum, This Contract, the entire relationship of the parties hereto, and any
litigation between the parties (whether grounded in contract, tort, statute, law or equity) shall be
governed by, construed in accordance with, and interpreted pursuant to the laws of the State of Texas,
without giving effect to its choice of laws principles. Exclusive venue for any litigation between the
parties hereto shall be in Tarrant County, Texas, and shall be brought in the State District Courts of
Tarrant County, Texas, or in the United States District Court for the Northern District of Texas, Fort
Worth Division. The parties hereto waive any challenge to personal jurisdiction or venne (including

PURCIIASE AND SALE AGREEMENT

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without limitation a challenge based on inconvenience} in Tarrant County, Texas, and Specifically
consent to the jurisdiction of the State District Courts of Tarrant County and the United States District
Court for the Northern District of Texas, Fort Worth Division.

146 Noe Third Parties Benefitted. The parties hereto de not intend to confer any benefit on any person, firra,
or corporation other than the parties to this Contract, and their respective successors and assigns.

14.7 Legal Fees, In the event either party hereto fails to perform any of ite obligations under this Contract or
in the event a dispute arises concerning the meaning or interpretation of any provision of this Contract,
the defaulting party or the party not prevailing in such dispute, as the case may be, shall pay any and all
costs and expenses incurred by the other party in enforcing or establishing its rights hereunder,
including, without limitation, court costs and reasonable legal fees.

14.8 Construction, The section titles or captions in this Contract are for convenience only and shall not be
deemed to be part of this Contract. All pronouns and any variations of pronouns shall be deemed to
refer to the masculine, feminine, or neuter, singular or plural, as the identity of the parties may require.
Whenever the terms referred to herein are singular, the sarne shall be deemed to mean the plural, as the
context indicates, and vice versa, This Contract shall not be construed as if it had been prepared only by
Purchaser or Seiler but rather as if both Purchaser and Seller had prepared the same. if any ferm,
covenant, condition, or provision of this Contract or the application thereof to any persom or
circumstance shall, at any time or to any extent, be invalid or unenforceable, the remainder of this
Contract, or the application of such tenn or provision te persons or cireumstances other than those to
which it is held invalid or unenforceable, shall not be affected thereby, and each provision of this
Contract shall be valid and shall be enforced to the fullest extent permitted by law.

149 Time of Essence, Time is of the essence of this Contract and each and every term and provision hereof.

14.10 Business Day, As used in this Contract, the term “business day” means Monday through Friday of each
week, exclusive of New Year’s Day, Memorial Day, Independence Day, Labor Day, Thanksgiving Day,
the day after Thanksgiving and Christmas Day, or any other holiday recognized by banks in Dallas,
Texas. H the final date of any period which is set out in any paragraph of this Contract falls upon 4 day
which iy not a business day, then, and in such event, the time of such petiod will be extended to the next

business day,

14.11 Confidentiality. Purchaser covenants and agrees that: (i) all information provided to it by Seller in
connection with the Project or resulting fiom Purchaser's inspections of the Project and review of
relevant materials which is not slready public information will be held in confidence by it, its agents and
employees, and (ii) Purchaser will returm all such written information to Seller in the event the
transaction contemplated by this Contract is not consummated, Notwithstanding the foregoing,
Purchaser may (4) share its information on a need-to-kaow basis with its consultants, accountants,
attorneys and potential equity and financing sources so long as such information is delivered to auch
parties on the condition of confidentiality consistent with the requirements of this paragraph and (3)
tnake disclosure as required by applicable law or court order, Purchaser farther agrees that it will not
issue any press releases regarding the Project or the transaction contemplated herein without the prior
consultation and express written approval of Seller. Notwithstanding anything herein to the contrary,
the provisions of this Section 14.11 shall survive the Closing,

14.12 Counterparts, This Contract may be executed in one or more counterparts, each of which shail be an
original, but all of which shall constitute one and the same instrument,

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14.13 Exhibits, All of the Exhibits and Schedules seforenced in this Contract are attached hereto and
incorporated as part of this Contract and shall have the same meaning as if they were incorporated fully
within ihe text of this Contract.

[SIGNATURE PAGE FOLLOWs.]

PURCHASE AND SALE AORBOMENT (hr bp 19

 
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IN WITNESS WHEREOF, the parties hereto have duly executed this Contract as of the Contract Date,

SELLER:

  

By:
Namie: Jason #

PURCHASER:

Ching Family Trust B
EXEEBITS ATTACHED:
Exhibit 1.1 Land

a ms mv
foona ¥, TF. a, Trustee
Exhibit 2.3 Due Diligence Materials

Exhibit 6.1 Fornn of Special Warranty Deed

Exhibit 6.2 Form of Bill of Sale

Exhibit 6,3 Form of Assignment and Assumption of Lease
Exhibit 6.4 Tenant Notice

Exhibit 6.6 Form of Non-Foreign Status Affidavit

Exhibit 8.1.8 Fonn of Estoppel Certificate

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LEGA RIP TION OF LL.

LOTS 10, 11, 12 AND 13 IN BLOCK 5 IN SECOND ROSELAND HEIGHTS SUBDIVISION OF THE HAST 23 OF
THE NORTHWEST 1/4 OF SECTION 10, TOWNSHIP 37 NORTH, RANGE 14, BAST OF THE THIRD PRINCIPAL
MERIDIAN, IN COOK COUNTY, ILLINOIS.

-
Exhibit 2.3 ~ Due Diigonee Materials [}- (le

 
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EXIT 2.3"
BVE DILIGENCE MATERTALS

All existing environmental reposts, studies or surveys of the Project in Seller’s possession.
Carrent zoning information relative to the Project.

A copy of the preliminary or final plat of the Project, i? applicable,

A eopy of the preliminary or, if available, final site plan for the Land and the Improvemenis.

Acopy of the fully executed Tenant Lease.

Exhibit 2.5 ~ Pne Diligence Materiats hy He “—

 
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EXBIBIT “6.1”
FORM OF SPECIAL WARRANTY DEED

NOTICE OF COMIPENTIALITY RIGHTS; IF YOU ART A NATURAL, PERSON, YOU MAY
REMOVE OR STROKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM ANY
ISTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY BEPORE IF IS FELD
FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCYAL SECURITY NUMBER OR YOUR

DRIVER'S LICENSE NUMBER,
SPRECTAL W. ED
STATE OF __ §
8 KNOW ALL MEN BY THESE PRESENTS
COUNTY OF 8

FOR VALUABLE CONSIDERATION, the receipt and adequacy of which are hereby acknowledged,
VRE Cacaco ELEVEN, LLC, a Texas limited lability company (“Granter"), hereby grants, bargains, sells
and conveys to _CGrantee”), that certain real property located in the
County of , State of _» biore particularly dereribed on Exhibit “A” attached
hereto and incorporated herein by this reference (the “ILand”), together with all of Grantor's right, fifle and
interest in and to the fixtures and improvements located on the Land (the “Emprovements”), and together with
all rights, privileges and easements appurtenant to the Land, all water, wastewater and other utility nights
relating to the Land and any and all easements, rights-of-way and other appurtenances used in connection with
the beneficial use and enjoyment of the Land, in each case to the extent assignable (the “Appurtenances”) (the
Land, Improvements and Appurtenances collectively referred to a3 the “Property”).

This conveyance is being made by Grantor and accepted by Grantee subject only to those certain title
exceptions (the “Permitted Exceptions”) set forth in Exhibit “B” attached hereto and made a part hereof for all
purposes, but only to the extent that such exceptions are valid, existing, and, in fact, affect the Property.

TO RAVE AND TO HOLD the Property, together with, ail and singular, the rights and appurtenances
thereto in anywise belonging, to Grantees and Grantee’s successors and assigns forever; and subject to the
Permitted Exceptions, Grantor does hereby bind Grantor and Grantor's successors and assigns to warrant and
forever defend, all and singular, the Property unto the Grantee and Grantee’s successors and assigns, against
every person whomscever lawfully claiming or to claim the same, or any part thereof by, through or under
Grantor, but not otherwise, subject to the Permitted Exceptions.

Grantee by its acceptance of this Deed acknowledges that, except for the special warranty of tile
contained in this Deed, neither Grantor nor its representatives have made any representations or warrantios as to
the Property or its environmental er physical condition, upon which Grantee has relied, Grantee Auther
acknowledges and agrees that it is purchasing the Property as set forth in the Purchase and Sale Agreement
dated effective , , 20__, between Grantor and Grantee (the “Coxtract”) in its “as is” condition as
get forth in Section 10.1 of the Contract, and that without Grantee agrccing to such conditions and terms this
conveyance would net be made, Further, by acceptances of this Deed, Grantee agrees to and reaffirms its
promises, obligations and acknowledgements, in the Contract, including that:

Q) GRANTEE ACKNOWLEDGES THAT iT JS NOT RELYING ON ANY
REPRESENTATIONS OR WARRANTIES WHATSOEVER BY GRANTOR OR ANY AGENT OR
BMPLOYBE THEREOF REGARDING THE PROPERTY, INCLUDING, WITHOUT LIMITATION, ITS
PHYSICAL CONDITION, iTS SUITABILITY FOR ANY PARTICULAR PURPOSE, ITS COMPLIANCE
WITH LAWS, INCLUDING, WITHOUT LIMITATION, ENVIRONMENTAL LAWS, OR THE PRESENCE

Eabibit 6.) — Form of Special Warranty Deed ar i

 
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OR ABSENCE OF CHEMICALS, TOXIC OR HAZARDOUS SUBSTANCES, MATERIALS OR WASTES
THEREUFON.

(2) GRANTEE SHALL ACCEPT THE PROPERTY IN ITS “AS IS”, “WHERE IS", “WITH ALL
FAULTS” CONDITION, AND GRANTEE ACKNOWLEDGES THAT GRANTOR HAS DISCLAIMED
ANY WARRANTY OF MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE, EXPRESS
OR IMPLIED. NOTWITHSTANDING THE ABOVE, EXCEPT TO ANY INFORMATION DISCLOSED TO
GRANTEE IN THE DUE DILIGENCE MATERIALS DELIVERED TO GRANTEE UNDER THE
CONTRACT, TO THE BEST OF GRANTOR’S ACTUAL KNOWLEDGE, GRANTOR IS UNAWARE OF
ANY EXISTING MATERIAL ENVIRONMENTAL OR OTHER LEGAL VIOLATIONS WHICH WOULD
BAR THE OPERATION OF A RETAIL RESTAURANT.

(3) GRANTEE ACKNOWLEDGES THAT IT IS A SOPHISTICATED REAL ESTATE
INVESTOR WHO HAD OPEN ACCESS TO, AND SUFFICIENT TIME TO REVIEW, ALL
INFORMATION, DOCUMENTS, AGREEMENTS, STUDIES AND TESTS RELATING TO THE
PROPERTY THAT GRANTEE ELECTED TO CONDUCT, AND DID CONDUCT A COMPLETE AND
THOROUGH INSPECTION, ANALYSIS AND EVALUATION OF THE PROPERTY, INCLUDING BUT
NOT LIMITED TO ENVIRONMENTAL ISSUES, IF ANY, AND FURTHER RECEIVED AND REVIEWED
SUCH INFORMATION AS GRANTEE IN ITS DISCRETION CHOSE TO REVIEW IN THE COURSE OF
ITS INVESTIGATION OF THE PROPERTY.

Grantee by its acceptance of this Deed has further waived and released Grantor and the Released
Parties from certain claims which are Specifically set forth in Section 10,2 of the Contract, and by this Deed
Grantee agrees to and reaffirms its promises, obligations and acknowledgements, in the Contract, including that:
GRANTOR IS HEREBY RELEASED BY GRANT&E AND ITS SUCCESSORS AND ASSIGNS OF AND
FROM ANY AND ALL RESPONSIBILITY, LIABILITY, OBLIGATIONS AND CLAIMS, KNOWN OR
UNKNOWN, INCLUDING, WITHOUT LIMITATION (1) ANY OBLIGATION TO TAKE THE PROPERTY
BACK OR REDUCE THE PRICE, OR (2) ACTIONS FOR CONTRIBUTION OR INDEMNITY, THAT
GRANTEE OR ITS SUCCESSORS AND ASSIGNS MAY HAVE AGAINST GRANTOR OR, THAT MAY
ARISE IN THE FUTURE BASED IN WHOLE OR IN PART UPON THE PRESENCE OF CHEMICALS,
TOXIC OR HAZARDOUS SUBSTANCES, MATERIALS OR WASTES ON, WITHIN OR UNDER THE
SURFACE OF THE PROPERTY, INCLUDING, WITHOUT LIMITATION, ALL RESPONSIBILITY,
LIABILITY, OBLIGATIONS AND CLAIMS THAT MAY ARISE UNDER STATE AND FEDERAL .
ENVIRONMENTAL LAWS, INCLUDING THE COMPREHENSIVE ENVIRONMENTAL RESPONSE,
COMPENSATION, AND LIABILITY ACT (42 U.S.C, § 9601 ET SEQ), AS AMENDED.

GRANTEE FURTHER ACKNOWLEDGES THAT THE PROVISIONS OF THIS PARAGRAPH
HAVE BEEN FULLY EXPLAINED TO GRANTEE AND THAT GRANTEE FULLY UNDERSTANDS

AND ACCEPTS THE SAME.

Ad valorem taxes for ihe year of this deed have been prorated; accordingly, by its acceptance of this
Deed, Grantee assumes responsibility to pay all ad valorem taxes on the Property for such year and all

subsequent years.

Grantee’s mailing address: a

Executed as of this day of ,20_.
GRANTOR:

Bxhibit 6,1 -- Form of Special Warranty Deed ih ade

 

 
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VRE CHICAGO ELEVEN, LLC,,
a Texas limited Hability company

 

 

 

By:
Naract Lerten
Fiele:,
THE STATE OF TEXAS §
§
COUNTY OF TARRANT §

This instrament was acknowledged before me on. ,20__, by
of VRE Caicaco ELEVEN, ULC, a Texas limited iisbility company, on behalf of saic said

 

company,

 

Notary Public, State of Texas

My Commission Expires:

 

Printed/Typed Name of Notary

erin meen pape ne nt Hn

After Recordi um To:

pomee rit

 

Exhibit 6.1 — Tor of Speclal Werunty Deed ‘t ae

 
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EXHIBIT “6.2”
‘2 . BILD, OF SALE
STATEOF §
§ KNOW ALL MEN BY THESE PRESENTS
COUNTY OF §

That VRE Caicagdo ELEVEN, ELC,, 2 Texas limited liability company (“Grantor”), for and in
consideration of the sum of Tea and No/100 Dollars ($10.00) and other good and valuable consideration te it in
hand paid by (“Grantee”) the receipt and sufficiency of which are
hereby acknowledged and confessed, has SOLD, ASSIGNED, TRANSFERRED and DELIVERED and does by
these presents SELL, ASSIGN, TRANSFER and DELIVER unto Grantee, all of Grantor's ight, title and
interest in and to the following described properties located on, and/or affixed to, and used in connection with,
the buildings (the “Improvements”) situated on those certain lands (the “Real Property”) in the City of
' County, ===, ore particularly described on Exhibit
"AY attached hereto and made a part hereof for all purposes, which Real Property has been conveyed by Grantor
fo Grantee by Special Warranty Deed of even date herewith:

 

(a) All equipment and personal property owned by Grantor which is located on or in the
Real Property or the Improvements (collectively, the “Personalty”). The Personalty Specifically excludes any
equipment or personal property of :

 

(b>) — All sight, title and interest to any unpaid insurance claims or proceeds or awards for
damages to the Real Property and/or the Improvements resulting from any casualty or any taking in eminent
domain or by reason of change of grade of any street.

(a) Except the name of the Grantor or affiliated entities, all of the interest of Grantor in any
intangible property now or hereafter owned by Granter and used or designed for use in connection with the Real
Property, the Improvements and/or the Personalty, and any contract or lease rights, licenses, pertiits, certificates
of occupancy, franchises, egreements, utility contracts, unexpired claims, warranties, guaranties and sureties
belonging to Grantor, or other rights relating to the ownership, development, construction, design, use and
operation of the Real Property and/or the Improvements, in each case to the extent assignable.

The property described in subsections (b) and (c} above is hereinafter sometimes referred to gs the
“fytangible Property”), Notwithstanding the foregoing, the property assigned and transferred hereunder shall
not inelnde any cash, bank accounts, prepaid obligations, and claims and causes of action.

TO HAVE AND TO HOLD the Grantor's rights, titles, and interests in and to the Personality and the
Intangible Property, unto the said Grantee, its successors and assigns, forever.

‘The Fersonalty and the Intangible Property and all other property being transferred or assigned
hereunder are being transferred and assigned by Grantor to Grantee AS 15, WHERE 18, AND WITHOUT ANY
WARRANTY OR REPRESENTATION, EXPRESS OR IMPLIED, OR ARISING BY OPERATION OF
LAW, INCLUDING, BUT IN NG WAY LIMITED TO, ANY WARRANTY OF QUANTITY, QUALITY,
CONDITION, HABITABILITY, MERCHANTABILITY, SUITABILITY OR FITNESS FOR A
PARTICULAR PURPOSE. GRANTEE IS HEREBY THUS ACQUIRING SUCH PROPERTY BASED
SOLELY UPON GRANTEE'S OWN INDEPENDENT INVESTIGATIONS AND INSPECTIONS OF SUCH
PROPERTY AND NOT IN RELIANCE UPON ANY INFORMATION PROVIDED BY GRANTOR OR
GRANTOR'S AGENTS OR CONTRACTORS.

Extibit 6.2 ~ Form of Bill of Sale ‘fe ee

 
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Grantee hereby accepts such assignment and transfer and hereby assumes, and agrees to indemnify and
hold harmless Grantor from and against, all obligations of Grantor under the Intangible Property which accrue
after the date hereaf.

This assignment and transfer is made subject to those matters of record affecting the Property to the
extent valid and enforceable.

Grantor and Grantee szepresent that they each have the full right, power, and authority to exeoute this
Bill of Sale and te perform their respective obligations hereander,

 

EXECUTED to be effective the day of ce cpg ae BOs
GRANTOR:
. VRE CeicAGo ELEVEN, LLC,,

a Texas limited Hability company

By:
Name:
Title:

 

 

GRANTEE:
CHING FAMILY TRUSTE

py Aveta Te Obiaatga
Name: Donea ¥.T. @hin ¢

Title “Trustee

Exhibit 6:2 — Fora of Bill af Salo ON de

 
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FORM OF ASSIGNMENT AND ASSUMPTION OF LEASE

THIS ASSIGNMENT AND ASSUMPTION OF LEASE (“Assignment”) is made effective this _ day of
> 20_, by and between VRE CuicaGo ELEVEN, LLC,, a Texas limited liability company

 

(“Assignor”), and (“Assignee”).
RECITALS
A. Aasignor, a3 Landlord, and , a8 Tenant, have entered into that certain
Lease Agreement dated. (the “Zease”) relating fo the real property described on tho attached
Exhibit “A® (the “Property”, which Property has been conveyed to Assignee by Assignor by Special Warranty
Deed of oven date herewith.

B, Assignor has agteed to assign the Lease to Assignee in connection with Assignor’s sale of the
Property to Assignes.

THEREFORE, in consideration of TEN DOLLARS and other valuable consideration, the receipt and
sufficiency of which Assignor acknowledges, Assignor dees hereby SELL, ASSIGN, TRANSFER, AND DELIVER to
Assignee the Lease, all of Assignor’s right, title, and interest in and to the Lease, and ail of the rights, benefits
and privileges of the landlord thereunder, including without limitation the rents and other charges to be payable
utider the Lease, all prepaid rents and security deposits, and all claims and actions, if any, against the tenants
under the Lease, choate or inchoate, and all rents, issues, and profits of the Property (collectively, the “Assigned
Rights”); To HAVE AND To Hou all and singular the Lease unto Assignee, its successors and assigns, and
Assignor does hereby bind itself and its successors to WARRANT AND FOREVER DEFEND all and singular the
Lease and other Assigned Rights unto Assignee, its successors and assigns, against every person whomsaever
lawfully claiming or attempting to claim same, or any part thereof, by through or under Assignor, but not
otherwise, subject, however, to permitted exceptions set forth in the Deed of even date herewith from Assignor
as Grantor to Assignee as Grantee.

Assignor states that no other assignment by Assignor exists in connection with the Lease or Assigned
Rights.

Assignor represents, warrants, covenants, and agrees that Assignor has performed and discharged any
and all obligations of Assignor under the Lease arising prior to the effective date of this Assignment. ASSIGNOR
AGREES TO INDEMNIFY AND HOLD HARMLESS ASSIGNEE FROM AND AGAINST ANY AND ALL LIABILITY, CLAIMS,
OR CAUSES OF ACTION EXISTING IN FAVOR OF OR ASSERTED BY LESSEES UNDER THE LEASE AND ARISING OUT
OF OR RELATING TO ASSIGNOR'S FAILURE TO PERFORM ANY OF THE OBLIGATIONS UNDER THE SAID LBASE,
ARISING OR ACCRUING PRIOR TO THE DATE OF THIS ASSIGNMENT, BUT NOT OTHERWISE,

Assignee essumes all liability, obligations, and duties to perform all of the terms and conditions of the
Lense on the part of the Assignor to be petformed on and after the date of this Assignment, and Assignec
covenants and agrees to discharge any and all obligations of Assignor under the Lease arising after the effective
date of this Assignment. ASSIGNER AGREES TO INDEMNIFY AND HOLD HARMLESS ASSIGNOR FROM AND
AGAINST ANY AND ALL LIABILITY, CLAIMS, OR CAUSES OF ACTION EXISTING IN FAVOR OF OR ASSERTED BY THE
LESSBR UNDER THE LEASE AND ARISING OUT OF OR RELATING TO ASSIGNEE’S FAILURE TO PERFORM ANY OF
THER OBLIGATIONS UNDBR THE SAID LEASE, ARISING AFTER THE DATE OF THIS ASSIGNMENT, BUT NOT

OTHERWISE,

All of the covenants, terms and conditions set forth herein shall be binding upon and inure to the benefit
of the parties hereto and their respective heirs, successors, assigns, and legal representatives.

Exhibit 6.5 ~ Poms of Assignment and Assumptlon of Lease de a

 
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Assignee covenants and agrees to deliver a signed statement to the tenant under the Lease
acknowledging that Assignee has received and is responsible for said tenant’s sceurity deposit as set forth on
Exhibit “B”,

ASSIGNOR:

VRE CRICAGO ELEVEN, LLC,
a Texas limited Hability company

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ASSIGNEE:
CHING FAMILY TRUST B

 

   

By: roasted
Name: Donna ¥. TF CHE

Title: Trustee,

Exhibit 6.3 — Fors of Asslgament and Axsuriplion of Lease Me

 
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EXHESIT 6.6”
FORM OF NON-FOREIGN STATUS ARRIDAVIT

Tre STATE OF TEXAS §
§ Know ALL MBN BY THESA PRESENTS:
COUNTY OF TARRANT §

THIS NON-FORBIGN STATUS AFFIDAVIT is provided pursuant to the requirements of LR.C.
Section '1445(b)(2) in connection with the sale by VRE Cricaco ELEVEN, LLC,, a Texas limited liability
company (the “Transfersr”), to (the “Tranaferee”), of the property
(the “Property”) described on Exhibit “A” attached hereto.

Under Section 1445 of the Internal Revemme Code, a transferee of U.S. real property interest must
withhold fax with respect fo certain transiers of property if the transferor ig a foreign person. To inform
Transferee that ne withholding is required upon transfer of the Property by Transferor, the undersigned hereby
certifies the following on behalf of Transferor:

L Transfror is not a foreign person (as such term is defined in the Internal Reverme Code and
Income Tax Regulations).
2. ‘Transferor's U.S, taxpayer identification number is

3 Transferor's business address is 1211 8. White Chapel Blyd., Southlake, Texas 76092.

The ‘Transferor understands that this certification may be disclosed to the Intemal Revenue Service by
Transferee and that any false statement contained herein could be punishable by fine, imprisonment, or both.

Under penalties of perjury, 1 declare that we have examined this certification, and to the best of my
knowledge and belief, do swear it is true, correct and complete,

 

 

 

EXECUTED AND DELIVERED the day of ,20
“Transferor’®
VRE CICAGO ELEVEN, LIC,,
a Texas Hmited liability company
By:
Jason Keen, ee
THE STATE OF TEXAS §
COUNTY OF TARBANT :
‘This instrament wes. acknowledged before me on ___» 20, by a

of VRE Cezcaco ELEVEN, LLC,, a Texas limited Hability, on behalf of said company.

 

Notary Public, State of Texas

Bxhibit 6.6 Porm of Non-Porcige Status Affidavit

 
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EXHIBIT "8.1.8"

FORM OF ESTOPPEL CERTIFICATE
ESTOPPEL CERTIFICATE
»20__

To:

 

 

Re: ‘That certain Lease Apreement dated as of by and between VRE Chicago

Eleven, LLC, a Texas limited liability company ("Landlord"), and ye

Tenant"), covering certain property located at

. consisting of approximately square feet of retail
space more particularly described therein (the “Lease")

Dear

 

Tenant understands that Landlord (hereinafter called “Seller"), owner of the tract of land which
is the subject of the Lease, which tract is located at the above-referenced Jocation in the City of
» County, (the "Property"), intends to sell the Property to
you or your assigns (“Purchaser"}. Tenant hereby certifies the following to Purchaser:

 

L. Attached hereto as Exhibit "A" are tre, complete and accurate copies of the Lease,
including all amendments and modifications.

2, The Lease is in full force and effect; there are no amendments or modifications of any
Kind to the Lease except as referenced herein; there are no other promises, agreements,
understandings, or commitments between Landiord and Tenant relating to the Property, the Lease; and
Tenant has not given Landlord any notice of termination under the Lease, There are no remaining
conditions te Tenant’s obligations under the Lease.

3, Tenant is in full and complete possession of the Property pursuant to the Lease, and
there has not been an assignment by Tenant of the Lease, or any rights therein, nor any subletting, to

any party.
4, There is no security deposit under the Lease,

5, To the best of the undersigned’s knowledge and belief, no uncured default, event of
default, or breach by Landlord exists under the Lease, and no facts or circumstances exist thaf, with .
the passage of time or the giving of notice, or both, will or could constitute a default, event of default,
or breach under the Lease. Tenant hag made no claim against Landlord alleging Landlord’s default

uiler the Lease.
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Exhibit 8.1.8 — Porm of Estoppel Certificate ,

 
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6. To the best of the undetsigned’s knowledge and belief, there are no rental, lease, or
similar commissions payable with respect to the Lease, except as may be expressly set forth therein.

7. Tenant is obligated to pay rent to Landlord at the rate set forth in the Lease, The
Tenant is current with respect to, and is paying the full rent and other charges stipulated in the Lease
with no offsets, deductions, defenses or claims, and Tenant has not prepaid any rent or other amounts
10 Landlord other than rent and other charges due and payable in the calendar month of this
cettification, None of the rent which Tenant is required to pay under the Lease has been prepaid more
than one (1) month in advance, and Tenant agrees not to pay rent more then one (1) month in advance
unless otherwise Specified in the Lease.

8. Neither a purchaser at foreclosure nor owner by virtue of a deed in lieu of foreclasure
of the Property shall be responsible for any security deposit or rent payment paid more than thirty (30)
days in advance of its due date that is not actually received by such person or entity.

9, Tenant is not entitled to any concession or rebate or other charges from time to time
due under the Lease.

10. The current monthly base rent under the Lease paid by Tenant is $ , Which
has been paid in fall for the period ending _ ,20__.

ii. Tenant acknowledges that the initial “Lease Term" (as such term is defined in the

Lease) of the Lease commenced on _» 20, and shall expire on
___, 20___, unless sooner terminated in accordance with the terms of the Lease.
Tenant has the option to extend the Lease Term for (.___) additional periods of

(__) years each as expressly set forth in the Lease.

12, The undersigned representative of Tenant is duly authorized and fully qualified to
execute this instrament on behalf of Tenant, thereby binding Tenant.

13. Ali notices to be sent to Tenant shall be sent to the address as set forth in the Lease.

14. ‘Tenant has no existing option or contractual right to purchase the Property or any part
thereof.

15. Tenant is responsible for all taxes, insurance and maintenance obligations pertaining to
the Property, and the Lease is intended to be a triple net lease. Any implications that Landlord is
required fo carry insurance in Section __ of the Lease are incorrect, since Landlord has no obligation

to carry insurance on the Property or the improvements thereon,

16. Landlord has completed all of its build out obligations under the Lease. Landlord has
paid or repaid to the Tenant all moneys due to Tenant under the Lease, including all monies owed to
Tenant as an improvement allowance,

17. Landlord acknowledges and agrees that Purchaser shall be entitled to rely on Tenant’s

certifications set forth herein.
Exhibit 8.1.8 ~ Form of Heloppel Certificate SV Ae

 
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IN WITNESS WHEREOF, Tenant has executed this instrument this day of
2 20.
poco
By: -
Name:
Title:

Paw

Bxhibit 8.4.8 -- Far of Beteppel Cortificate

 
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EXHIBIT “A”
LEASE
{Attached]

“Yay

Exhibit 8.18 -- Form of Estoppe) Certificate

 
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This Confidential

mation Memdérandum (the “Memorandum”), the
term “Transaction” means, whether effected in
one Transaction or a series of related Transac-
tions, placement of debt related to the Assets.
The sole purpose of this Memorandum is to as-~

sist the recipient in deciding whether it wishes to

proceed with ; a Proposed Transaction, .

‘The racipiert, wil hold this Memorandum and all

information made available “hereunder ‘in..strict.”.
confidence for the benefit of Frontier Star.1, LLC:
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information only for the. purpose | of evaluating: the <0
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- sion of the’ Company | is

 

 

recipient will adhere: to the terms of the Confiden-
tiality Agreement.

 

   

Information ‘Memorandun vi
(“Memorandum”) has. been, ‘prepared solely for
information purposes. . An this ‘Confidential Infors

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the receipt of this Memorandum shall confirm that. -

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herein or any other written or oral communication
transmitted or made available to any recipient.
The Company and their respective affiliates and
representatives expressly disclaim any and all
liability based, in whole or in part, on such |informa-

  
 
    
  
  
 

 

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of management. concerning future performance,

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made as to the accuracy or ‘reasonableness of
such assumptions or the projections or forward -
looking statements based thereon. Only those
representations and warranties, which may be
made in a definitive written agreement relating
io the Transaction, when and if executed, and.

- subject to any limitations and restrictions as may),
be specified , jin. such. definitive agreement, Shall .
_ have any. legal effect.

   
 

 

Founded in 1941 by Carl Karcher. “The place to
go” for a big, juicy burger in the Western U.S. Sig-
nature menu items include the 100% Angus beef
Thickburgers™ on Fresh Baked Buns, Hand
Breaded Chicken Tenders, and Made from
Scratch™ Biscuits. Se

 

 

 

 

 

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Founded in 1961 by Wilber Hardee. Acquired by
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Buns, Hand Breaded Chicken Tenders, and Made .
from Seratch™ Biscuits...

  

 

  
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JASON Sia a ear wo

With over: 25 years of:

“a very early age Jason, toured

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learning the importance of quali-
ty, service, cleanliness, and hard
work in building a successful

restaurant enterprise. Jason start~.

ed his working caréer.on the front

lines of the restaurant business, ak
working. as a cook’and cashier: at.
Carl's Jr. Ultimately, after several”
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ager Jason married the love of his .

life, Andi,.and then enlisted i in the
United States Marine Corps where

he, spent five. years. active duty
as.an Arabic linguist. He and his |

family have.-cafried their Gran
‘father’s “value
business. and community “efforts.

Today Jason, Andi and their five ~

children enjoy an active life, stay-
ing involved i in their local commu-
nity and work with their partners
on their growing enterprise.

‘ifornia with a hot “dog cart. From. 2

   

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_ within the organization, Carl mar-.
- tied. the love ‘of his. life, Neisha, .
and today; they, their four. children, ON

  
   
 

Karcher. AS. a. ‘Namesake | ‘to. his, ae
‘Grandfather, Carl grew up very

close to the restaurant business
and always aimed to become
a restaurateur himself, Carl has
led operations as COO of this
growing franchise enterprise, Carl

has shown remarkable success In,

   
 

enjoy..an active life, ar

 

 

as a. Cook and cashier at.Carl’s Ur:

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local community and work
: alongside. their. ‘partners. on. their .
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er, Carl Karc
Margaret grew. ‘up ‘very close to .
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is a Graduate of the University. of
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the ground up, starting at: other
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2 try, its ‘People. and these brands,”
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Case 4:16-cv-00428-A Document1 Filed 06/07/16 Page 79 of 79 PagelD 79
!844-TXND (Rev, 12/12) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service_of pleadings or other papers as required by law, except as
provided by iocal rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM}

 

i. (a) PLAINTIFFS DEFENDANTS
DONNA Y. T, CHING, as Trustee of the Ching Family Trust (Trust 8), VRE CHICAGO ELEVEN, LLC; VERDAD REAL ESTATE, INC.; EXP
Restated March 22, 1984, and under Declaration of Trust Spit dated REALTY ADVISORS, INC.; and TARTAN REALTY GROUP, INC,
June 7, 2014

{b} County of Residence of First Listed Plaintiff Los Angeles County, CA _ County of Residence of First Listed Defendant erates

{EXCEPT IN US. PLAINTIFF CASES} (IN US. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

{c} Agomeys (Minn Name, Address, and Telephone Number) Aftorneys df Known}
Janna Ward Clarke
309 West 7th Street, Suite #160
Fort Worth, TX 76102 Tel: (817) 335-1615

 

 

FE. BASIS OF JURISDICTION (Place an “X" in One Rox Only) Hi. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
. {For Diversity Cases Only} and Qne Box for Defendant}
Oo | U.S. Government O 3 Federal Question PYF DEF PTF DEF
Plaintiff (2.8. Government Nat a Party) Citizen of This State a4 | Incorporated or Principal Place O44 4
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O 2 US. Government 4) Diversity Citizen of Another State & 2 2° Incorporated and Principal Place go 3$ 03
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IV. NATURE OF SUIT (Pace an x” in One Box Only)

       

   

     

 

 

 

        

   

 

 

 

 

 

 

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Gi £40 Negotiable Instrument Liability 0 367 Health Care/ CG 430 Banks and Bankiny
GO 150 Recovery of Overpayment 10 320 Assault, Libel & Pharmaceutical ESSPROPERTY RIGHTS: CF 450 Commerce
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G 453 Recovery of Overpayment Liability PERSONAL PROPERTY {0 710 Faic Labor Standards O 861 HIA (1395ff OG 850 Securities/Commodities/
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C1 160 Stockholders’ Suits G 335 Motor Vehicle 0) 37) Truth in Lending O 720 Labor/Management O 863 DIWCIDIWW (405(2 «| CF 850 Other Statutory Actions
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CG 195 Contract Product Liability | C1 360 Other Personal Property Damage G 740 Raibway Labor Act O 865 RSI (405(g)) 893 Environmental Matters
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G 362 Personal Injury - Product Liability Leave Act Act
Medical Malpractice. OG 790 Other Labor Litigation CF 896 Arbitration
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O 210 Land Condemnation 3 449 Other Civil Rights Kabeas Corpus: Income Security Act CF 870 Taxes (U5, Plaintiff AclReview of Appeal of
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1 230 Rent Lease & Ejectment G 442 Employment J 510 Motions to Vacate 871 IRS—Third Party CE 950 Constitutionality of
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O 245 Tort Product Liability Accommodations f 530 General
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28 U.S.C. § 1332
Brief description of cause: . . .
Fraud and negligent misrepresentations relating to real estate transaction.

 

Vi. CAUSE OF ACTION

 

 

 

 

 

   
 

 

VIL REQUESTED IN [) CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P, 1,000,000.00+ JURY DEMAND: J Yes No
VIL RELATED PENDING OR CLOSED CASES)
IF ANY (Bee instructions): ae HON. JOHN McBRYDE DOCKET NUMBER 4:16-CV-074-A __
DATE NATURE OF Ad TORNEY OF RECORD
06/07/2046
FOR GFFICE USE ONLY if

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE
